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  6
  7
  8                       UNITED STATES DISTRICT COURT
  9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11    ERNST & HAAS MANAGEMENT                     Case No.:
       COMPANY, INC.,
 12                                                COMPLAINT FOR DAMAGES
                     Plaintiff,
 13                                                1. Breach of Contract;
       v.
 14                                                2. Breach of Implied Covenant of
       HISCOX, INC.; and DOES 1 through               Good Faith and Fair Dealing;
 15    10,
                                                   3. Tortious Breach of Implied
 16                  Defendants.                      Covenant of Good Faith and
                                                      Fair Dealing;
 17
                                                   4. Bad Faith;
 18
                                                   5. Unfair Trade Practices.
 19
                                                   DEMAND FOR JURY TRIAL
 20
 21                                  INTRODUCTION
 22         1.    This is an insurance bad faith action brought by an insured business
 23   against its insurer for its failure to provide coverage for a $200,000 loss caused
 24   by a covered event of computer fraud. The underlying facts are essentially
 25   undisputed. The core dispute is, rather, this plaintiff insured’s assertion that it
 26   is covered under the relatively broad pertinent language of the 2012 -- 2013
 27   commercial policy which it purchased and renewed each year thereafter. By
 28   contrast, the defendant insurer contends that narrower updated language


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  1   contained in the 2018 – 2019 and 2019 – 2020 iterations of the policy excludes
  2   coverage. In turn, plaintiff contends, the “new” language in both constitutes an
  3   unlawful reduction or “skinnying down” of coverage for which defendant is
  4   otherwise, under California law, required to, but failed to provide separate
  5   notice to the insured before invoking such language to deny coverage. Plaintiff
  6   is, therefore, entitled to coverage for its claim.
  7         2.    Under 28 U.S.C. § 1332, this District Court has diversity jurisdiction
  8   over this matter because the plaintiff is a California corporation, the defendant
  9   is a Delaware corporation, and the amount in question exceeds $75,000.
 10                                        PARTIES
 11         3.    Plaintiff ERNST & HAAS MANAGEMENT CO., INC. is a
 12   professional full-service Long Beach property management company, currently
 13   managing rentals throughout the Long Beach Area, and whose office is located
 14   at 4120 Atlantic Avenue, Long Beach CA, 90807. It is licensed in California,
 15   Corporate No. C2112016, and is in good standing.
 16         4.    David Lee Haas is the Chief Executive Officer, Secretary, Chief
 17   Financial Officer, and Managing Director of plaintiff ERNST & HAAS
 18   MANAGEMENT CO., INC. He signed the subject insurance contracts on behalf
 19   of plaintiff ERNST & HAAS MANAGEMENT CO., INC. [hereinafter ERNST &
 20   HAAS]
 21         5.    Defendant HISCOX, INC. [hereinafter HISCOX] is an Insurance
 22   Company, incorporated in Delaware, whose corporate offices are in New York,
 23   registered with the California Secretary of State, California Business Number
 24   C2813729, and doing business in the State of California.
 25         6.    Plaintiff is ignorant of the true names and capacities of those
 26   defendants named as Does, but allege that each said Doe defendant was in some
 27   intentional or negligent manner responsible for its injuries. Plaintiff will amend
 28   its complaint to allege the true names and capacities of said defendants when


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  1   they become known, together with appropriate charging allegations.
  2                     THE SUBJECT INSURANCE CONTRACT
  3         7.    A true and correct copy of the original insurance policy which is the
  4   subject of this claim, C-Suite, Commercial Crime Insurance Policy, Policy
  5   Number: UC21253080.12, 30 pp., is attached hereto as Exhibit 1, and
  6   incorporated by reference. Plaintiff entered into this contract to cover the policy
  7   period of 01/18/2012 to 01/18/2013. Every year since then through the time of
  8   the covered event, plaintiff has renewed the coverage. For reasons explained
  9   herein, the pertinent policy language that controls regarding whether the subject
 10   event is covered under this policy is contained in Exhibit 1.
 11         8.    A true and correct copy of the most recent iteration of the policy is
 12   attached hereto as Exhibit 2, 33 pp., and incorporated by reference. The Policy
 13   Number is UC21253080.19. The Policy Period was 01/18/2019 to 01/18/2020.
 14   A true and correct copy of the related “Crime Coverage Part” is attached hereto
 15   as Exhibit 3, 23 pp., and incorporated by reference.
 16                           JURISDICTION AND VENUE
 17         9.    Plaintiff, by and through David Lee Haas, entered into the subject
 18   insurance policy attached as Exhibits 1, 2 and 3 in Long Beach, California,
 19   making the United States District Court, Central District of California, the proper
 20   venue in California.
 21    ADDITIONAL FACTUAL ALLEGATIONS REGARDING THE “EVENT”
 22         10.   On March 12, 2019, Krystale Allen ["Allen"], ERNST & HAAS'
 23   Accounts Payable Clerk, received an email from someone whom she thought
 24   was David Haas, Managing Broker of ERNST & HAAS ["Real David"], but was
 25   actually an unknown person[s] pretending to be him ["Fake David"].
 26         11.   The email attached an invoice for $50,000 to be sent to Zang
 27   Investments, LLC. Allen processed the payment by wire transfer, with the
 28   payment going to an account at Fifth Third Bank.


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  1         12.   On March 18, 2019, Allen received a second email from Fake David,
  2   this time with an invoice attached for $150,000, also to be sent to Zang
  3   Investments, LLC. Fake David requested that the payment to be made in the
  4   same manner as the prior payment completed by Allen. Allen processed the
  5   payment.
  6         13.   On March 20, 2019, Allen received a third request from Fake David,
  7   this time requesting a payment of $470,000 to Zang Investments, LLC. At this
  8   point, Allen became concerned as to the authenticity of the request and
  9   forwarded the email to Real David asking him if the request was legitimate. Real
 10   David then called Allen and told her that the email had not been sent by him.
 11         14.   At this point, Allen realized the fraud and that the prior emails were
 12   likewise also fraudulent. Allen called immediately ERNST & HAAS’ bank,
 13   Farmers & Merchants Bank, informed it of the fraud, and asked for the wires to
 14   be stopped. The bank said that the wires had already been sent and could not be
 15   recalled.
 16         15.   When Allen discovered what had happened, she began crying and
 17   shaking. An incident report written by Annette Martin, ERNST & HAAS’
 18   Operations Manager, stated the following:
 19               [Martin] reminded her that E&H do not sent out wire
 20               transfers – who trained you regarding wire transfers?
 21               [Her response was no.] Have you done one before? [Her
 22               response was no.]Also, asked why didn't she speak with
 23               [Martin] regarding such emails? Couldn't you pick up
 24               the phone and contact [Real David] since these requests
 25               were out of protocol? Employee was visibly shaken and
 26               distraught, could not answer any other questions other
 27               than "I don't know."
 28   ERNST & HAAS determined that the fraudster was using an email address that


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  1   was similar to, but different from, Real David's actual email address. The
  2   fraudulent party used the address of dhaas@ernsthas.com, while Real David's
  3   email address is dhaas@ernstandhaas.com.
  4         16.   The Insured had expressed concerns that Allen may be connected
  5   with the loss, stating as follows:
  6               I'm not in a position to make allegations that Krystale
  7               embezzled funds from our company, however the
  8               circumstances are curious. She had been with our
  9               company for approximately 5 months and was very
 10               familiar with our protocols for funds disbursement, yet
 11               she by-passed all standard procedures and sent funds to
 12               an unknown out of state bank account without any
 13               accounting. When asked, she did not have any answer
 14               whatsoever as to why she did not follow known
 15               procedures and practices. We have never issued
 16               payment in this manner, or for such large amounts in the
 17               past, so it raises concerns. Within days of this incident
 18               she left the company on leave and has not returned.
 19         17.   ERNST & HAAS claims a total loss amount of $200,000 representing
 20   the first wire in the amount of $50,000 and the second wire in the amount of
 21   $150,000. On its proof of loss form, the Insured described the loss as "Email was
 22   compromised and funds were wired to fraudulent account." ERNST & HAAS
 23   reported the matter to the Long Beach Police Department and to the Internet
 24   Crime Complaint Center.
 25         18.   In its written report to law enforcement, and in the written recall
 26   request to the bank, the Insured described the loss as resulting from an email
 27   hack and compromise.
 28                              DENIAL OF THE CLAIM


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  1         19.   On June 10, 2019, the insurer, defendant HISCOX denied the claim.
  2   A true and correct copy of the denial letter, 7 pp., is attached as Exhibit 4, and
  3   incorporated by reference.
  4         20.   The pertinent gist of HISCOX’s reason for denying the claim in the
  5   June 10, 2019 correspondence is that coverage is excluded under language found
  6   in Insuring Agreement D(2), Funds Transfer:
  7               Funds transfer fraud does not include any transfer,
  8               payment, or delivery of money or securities which
  9               required you, your employees, your executive
 10               employees, or others on your behalf to take any action
 11               in order the complete the transfer, payment, or delivery
 12               of such money or securities.
 13   [Emphasis in original]
 14         21.   After plaintiff continued to challenge the denial, defendant HISCOX
 15   doubled down on its reliance on the 2019 – 2020 contract in correspondence,
 16   dated December 20, 2019, a true and correct copy whereof is attached as Exhibit
 17   5. In that letter, HISCOX blames plaintiff for not updating its policy:
 18               The Insured Did Not Purchase The Coverage That
 19               Could Have Afforded Coverage For This Loss
 20               The real issue here is that the Insured did not purchase
 21               the coverage that could have provided coverage for this
 22               loss. Insuring Agreement D(3) of the Policy, Cyber
 23               Deception, typically affords coverage in situations
 24               similar to the loss at issue here—where an Insured is
 25               tricked into sending money to a fraudulent party.
 26               Insuring Agreement D(3) provides coverage, in part, for
 27               a loss of money resulting directly from cyber deception.
 28               Cyber deception means the intentional deception of an


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  1              employee by a person falsely purporting to be an
  2              employee of the Insured through a confidence trick
  3              communicated by email which results in the Insured’s
  4              transfer of money. Insuring Agreement D(3) was written
  5              specifically to provide coverage in situations where, as
  6              here, an employee is tricked into making a transfer of
  7              money. The Insured could have purchased this coverage,
  8              but did not. While it is unfortunate that the Insured did
  9              not buy this coverage, this is not the fault of Hiscox. The
 10              Insured cannot now rewrite the Policy to fix the ills
 11              caused by its own decision.
 12        22.   In subsequent correspondence between the parties on the subject of
 13   coverage, plaintiff pointed out that this exclusionary language does not appear
 14   in the original insurance contract [Exhibit 1] and that defendant HISCOX never
 15   gave notice to its insured, plaintiff ERNST & HAAS, of such a reduction in
 16   coverage. A true and correct copy of that correspondence, dated February 4,
 17   2020, is attached hereto as Exhibit 6, and incorporated by reference.
 18        23.   This letter points out that the pertinent language for purposes of
 19   coverage is found in the 2012 policy which states in pertinent part:
 20        Coverage D: Computer and Funds Transfer Fraud
 21        (1) Computer Fraud
 22              We will pay for loss of or damage to Money, Securities
 23              and/or Other Property resulting directly from the use of
 24              any computer to fraudulently cause a transfer of that
 25              property from inside the Premises or Banking Premises:
 26              (i) to a person (other than a Messenger) outside those
 27              Premises or Banking Premises; or (ii) to a place outside
 28              those Premises or Banking Premises.


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  1   "Coverage D" of page 4 of 24 of policy form CRI P001 CW (06/10), issued to
  2   ERNST & HAAS, coverage commencing January 18, 2012. [Emphasis in original]
  3           24.   The coverage stated in “Coverage D” is clear. It is what ERNST &
  4   HAAS purchased in 2012 and continued to renew. It covers ERNST & HAAS’
  5   loss.
  6           25.   The limited definition of computer fraud, found on page 11 of 17 of
  7   policy form CSUCRI P0001A CW (07/17) [Exhibit 3, p. 78 of 119], which
  8   HISCOX cited as the basis of HISCOX’s denial, is nowhere found in the policy
  9   issued in 2012. Nor is there a separate “section D(3)” separately describing
 10   “cyber fraud,” or setting forth the basis for distinct broader coverage if the
 11   insurer so chooses.1
 12           26.   California law is clear that an “insurer when renewing a policy may
 13   not change the terms of the policy, without first notifying the insured ...." Zito
 14   v. Firemen's Ins. Co. (1973) 36 Cal.App.3d 277, 282; that the insurer is bound by
 15   a greater coverage in an earlier policy when a renewal policy is issued but the
 16   insured is not notified of the specific reduction in coverage, Industrial Indem. Co.
 17   v. Ind. Acc. Com. (1949) 34 Cal.2d 500, 506; Sorensen v. Farmers Ins. Exch. (1976) 56
 18   Cal.App.3d 328, 333; and an “insurer when renewing a policy may not change
 19   the terms of the policy, without first notifying the insured ...." Zito v. Firemen's
 20   Ins. Co. (1973) 36 Cal.App.3d 277, 282.
 21           27.   Further, when an insurance company changes, reduces, or limits the
 22   coverage or benefits of a policy upon renewal, the notice of such change must "be
 23   provided in a ‘plain, clear and conspicuous writing'." Everett v. State Farm General
 24   Ins. Co. (2008) 162 Cal.App.4th 649, 663. To be conspicuous, the notice must be
 25   "displayed or presented" in a way that it would be "noticed" by a reasonable
 26
              1
                    The definition of “cyber” is: “of, relating to, or involving computers or computer
 27
      networks (such as the Internet).” https://www.merriam-webster.com/dictionary/cyber [last
 28
      visited 4/3/20]

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  1   person. Broberg v. Guardian Life Ins. Co. of Am. (2009) 171 Cal.App.4th 912, 922-23.
  2   Examples of conspicuous notice "includes . . . a heading in capitals . . . larger type
  3   than the surrounding text, or in contrasting type, font, or color to the
  4   surrounding text of the same size . . ." Id. at 923. Moreover, the notice of
  5   reduction in coverage must be "specific." Davis v. United Services Auto Ass'n
  6   (1990) 223 Cal.App.3d 1322, 1332. "[A] general admonition to read the policy for
  7   changes is insufficient." Ibid. [Emphasis added] The failure to provide "adequate
  8   notice" renders the attempted reduction or limitation in coverage "ineffective."
  9   Id. at 1333.
 10         28.      The definition of Funds Transfer Fraud found in Insuring Agreement
 11   D(2) of the 2019 – 2020 contract constitutes a material change in the terms of, and
 12   reduction of coverage from the original contract which plaintiff ERNST & HAAS
 13   purchased from defendant HISCOX in 2012. Since 2012, defendant HISCOX has
 14   not given its insured, plaintiff ERNST & HAAS, any notice of the change
 15   remotely compliant with California law on the subject, much less notice in
 16   “plain, clear and conspicuous writing.” As such, the reduction in coverage is,
 17   under California law, “ineffective.”
 18         29.      When plaintiff called defendant’s attention to this flaw in its
 19   justification for denying coverage, defendant countered, in a correspondence
 20   dated March 4, 2020, a true and correct copy whereof is attached as Exhibit 7,
 21   and incorporated by reference herein, by misdirecting attention to still other new
 22   language in the year-earlier policy of 2018 – 2019, instead of addressing the 2012
 23   – 2013 policy, a copy of which plaintiff had provided defendant in the prior
 24   correspondence. When plaintiff subsequently called defendant’s attention to the
 25   flaw in referring to the 2018 – 2019 iteration of the policy rather than the 2012 –
 26   2013, defendant countered in correspondence dated March 13, 2020, a true and
 27   correct copy where is attached as Exhibit 8, by adding a new gloss that the new
 28   language [the definition in D(2) of the 2019 – 2020 policy] was “merely a


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   1   clarification,” not a reduction or “skinnying down” of coverage of the 2012 --
   2   2013 policy.
   3         30.   Not only is it not plaintiff’s fault for not selecting and paying for
   4   additional “D(3)” coverage, as defendant has alleged, defendant cannot explain
   5   how plaintiff could have possibly known in 2012 – 2013, absent some other
   6   intervening act of notice between then and 2019, that, in 2019, it would have to
   7   pay extra for distinct D(3) coverage, as D(3) coverage did not even exist in 2012.
   8   There was no separate section separately defining cyber fraud as something
   9   distinct from computer fraud. Nor was there distinct D(2) language which
  10   expressly excluded as an insurable event situations where an employee approves
  11   the electronic transfer as the result of cyber deception. These distinctions did not
  12   even exist when the insured entered into the original contract. Defendant
  13   HISCOX appears to be assuming that the insurer did not have to comply with
  14   the notice requirements of California law and that a mere general admonition to
  15   read the policy for changes is sufficient to justify the changes. It isn’t.
  16         31.   In addition to willfully denying [indeed failing to address] that the
  17   factual basis of plaintiff’s claim that language in the 2012 –- 2013 policy is
  18   controlling, defendant HISCOX has invented a new category for language added
  19   to a policy for which it implicitly claims it does not have to provide notice to its
  20   insureds under California law. But the classification defies reasonable rules of
  21   construction. Defendant HISCOX states that the new language merely provides
  22   “clarification,” i.e., it doesn’t add or subtract, it merely clarifies. But
  23   “clarification” implies preceding language that needs additional expression to
  24   clarify. That implies an ambiguity. Under familiar principles of contract
  25   interpretation, particularly insurance contracts, such ambiguities should be
  26   resolved against the drafting party insurer.
  27         32.   On the other hand, if the language is interpreted as mere surplusage,
  28   as defendant now would have it, such interpretation cuts against the rule of


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   1   interpretation that additionally inserted words should be preferentially
   2   interpreted to have meaning. Stated alternatively, the new language the insured
   3   added [i.e., D(2) and D(3)]obviously is not mere surplusage. Rather, it has
   4   meaning -- it is intended to expressly reduce/skinny down the insured’s
   5   coverage from what it was in, inter alia, the 2012 -- 13 contract. Employing either
   6   rule of construction, the coverage limitations and changes imposed either in the
   7   2018 – 2019 or 2019 – 2020 iterations cannot be read into the 2012 – 2013 contract
   8   ex post facto to deny coverage. Rather, the 2012 – 2013 contract should be
   9   interpreted and applied as it is written, i.e., to provide coverage.
  10         33.   In sum, the insured, plaintiff ERNST & HAAS, has presented a loss
  11   that is covered under D(1) of the policy it purchased for 2012 – 2013. Since then,
  12   plaintiff has renewed its policy annually. The exclusionary and additional
  13   language D(2) and D(3) that defendant HISCOX has asserted into later iterations
  14   of the 2012 – 2013 policy, including the 2018 – 2019 iteration, was added without
  15   giving express notice to the insured as required by California law and, therefore,
  16   cannot provide a lawful basis for excluding or denying coverage.
  17         34.   Further, the following acts of defendant HISCOX: [1] rewriting
  18   coverage to define cyber deception as a separate form of Computer and Funds
  19   Transfer Fraud; [2] adding policy language that excludes a transfer resulting
  20   from cyber deception as covered under the prior Computer and Funds Transfer
  21   Fraud section; [3] failing to give the insured express notice that its coverage had
  22   been altered and that it would have to pay extra for coverage for potential claims
  23   made under the new cyber deception category; and [4] blaming the insured for
  24   not electing the new coverage when renewing is a paradigmatic example of,
  25   under California law, an insurer unlawfully “skinnying down” coverage in bad
  26   faith, meriting the relief plaintiff requests herein as follows.
  27
  28   ///


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   1                               FIRST CAUSE OF ACTION
   2                                  [Breach of Contract]
   3                           By Plaintiff against all Defendants
   4         35.     Plaintiff repeats and realleges the allegations contained in the
   5   preceding paragraphs of this Complaint as though said paragraphs were fully
   6   set forth herein.
   7         36.     There is a valid and existing insurance agreement between plaintiff
   8   and defendant HISCOX. A true and correct copy whereof is attached as Exhibits
   9   1, 2 and 3.
  10         37.     Plaintiff performed or was excused from performance under the
  11   agreement.
  12         38.     Defendant breached the agreement by, inter alia, refusing to properly
  13   compensate Plaintiff.
  14         39.     Plaintiff sustained damages as a result of Defendant HISCOX’s
  15   breach of the agreement.
  16         40.     Plaintiff has been required to retain the services of attorneys to
  17   commence this action and is entitled to contractual and/or statutory attorneys’
  18   fees and costs.
  19                             SECOND CAUSE OF ACTION
  20                       [Contractual Breach of the Implied Covenant
  21                             of Good Faith and Fair Dealing]
  22                           By Plaintiff against all Defendants
  23         41.     Plaintiff repeats and realleges the allegations contained in the
  24   preceding paragraphs of this Complaint as though said paragraphs were fully
  25   set forth herein.
  26         42.     There is implied in every contract a covenant of good faith and fair
  27   dealing. Plaintiff and defendant entered into a valid and existing insurance
  28   agreement.


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   1         43.   Defendant owed plaintiff a duty of good faith and fair dealing.
   2   Defendant breached its duty of good faith and fair dealing by, inter alia, refusing
   3   to properly compensate plaintiff.
   4         44.   Plaintiff sustained damages as a result of defendant’s breach of the
   5   implied covenant of good faith and fair dealing.
   6         45.   Plaintiff has been required to retain the services of attorneys to
   7   commence this action and is entitled to contractual and/or statutory attorneys’
   8   fees and costs.
   9                              THIRD CAUSE OF ACTION
  10                       [Tortious Breach of the Implied Covenant of
  11                              Good Faith and Fair Dealing]
  12                           By Plaintiff against all Defendants
  13         46.   Plaintiff repeats and realleges the allegations contained in the
  14   preceding paragraphs of this Complaint as though said paragraphs were fully
  15   set forth herein.
  16         47.   There is implied in every contract a covenant of good faith and fair
  17   dealing.
  18         48.   Plaintiff and defendant entered into a valid and existing insurance
  19   agreement which included coverage for the loss plaintiff incurred.
  20         49.   Defendant owed plaintiff a duty of good faith and fair dealing.
  21   As an insurer, defendant owed plaintiff a fiduciary-like duty and there was a
  22   special element of reliance by plaintiff.
  23         50.   Defendant breached its duty of good faith and fair dealing by, inter
  24   alia, refusing to properly compensate plaintiff for its loss.
  25         51.   Plaintiff sustained damages as a result of defendant’s breach of the
  26   implied covenant of good faith and fair dealing.
  27         52.   Plaintiff is further entitled to punitive damages in an amount to be
  28   proved at trial as a result of defendant’s breach of the implied covenant of good


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   1   faith and fair dealing because the denial and refusal to provide coverage for the
   2   loss was carried out in an oppressive, fraudulent, malicious, vexatious,
   3   deliberate, cold, callous or intentional manner, or in conscious disregard of
   4   plaintiff’s protected rights, in order to injure and damage plaintiff.
   5         53.   Plaintiff has been required to retain the services of attorneys to
   6   commence this action and is entitled to contractual and/or statutory attorneys’
   7   fees and costs.
   8                            FOURTH CAUSE OF ACTION
   9                                      [Bad Faith]
  10                         By Plaintiff against all Defendants
  11         54.   Plaintiff repeats and realleges the allegations contained in the
  12   preceding paragraphs of this Complaint as though said paragraphs were fully
  13   set forth herein.
  14         55.   The acts and omissions of defendant as complained of herein, and yet
  15   to be discovered in this matter, constitute bad faith.
  16         56.   Plaintiff sustained damages as a result of defendant’s bad faith.
  17         57.   Plaintiff is further entitled to punitive damages in an amount to be
  18   proved at trial, as a result of defendant’s bad faith because the denial and refusal
  19   to provide coverage for the loss was carried out in an oppressive, fraudulent,
  20   malicious, vexatious, deliberate, cold, callous or intentional manner, or in
  21   conscious disregard of plaintiff’s protected rights, in order to injure and damage
  22   plaintiff. Plaintiff is further entitled to punitive damages as a result of
  23   defendant’s bad faith.
  24         58.   Plaintiff has been required to retain the services of attorneys to
  25   commence this action and is entitled to attorneys’ fees and costs.
  26
  27
  28   ///


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   1                             FIFTH CAUSE OF ACTION
   2                               [Unfair Trade Practices]
   3                         By Plaintiff against all Defendants
   4         59.   Plaintiff repeats and realleges the allegations contained in the
   5   preceding paragraphs of this Complaint as though said paragraphs were fully
   6   set forth herein. Defendant has engaged in unfair trade practices, including
   7   defendant’s failure to properly settle plaintiff’s claim.
   8         60.   Plaintiff sustained damages in excess of the policy limits as a result
   9   of defendant’s unfair trade practices, which include unreasonable interpretation
  10   of the relevant policy provisions, delay in approving coverage, and intentionally
  11   skinnying down coverage in way designed to escape the attention of brokers and
  12   insureds, and in contravention of California law prohibiting the practice.
  13         61.   Plaintiff is further entitled to punitive damages in an amount to be
  14   proved at trial as a result of defendant’s unfair trade practices because the denial
  15   and refusal to provide coverage for the loss, including the referral to the
  16   California Department of Insurance was carried out in an oppressive, fraudulent,
  17   malicious, vexatious, deliberate, cold, callous or intentional manner, or in
  18   conscious disregard of plaintiff’s protected rights, in order to injure and damage
  19   plaintiff. Plaintiff is further entitled to punitive damages as a result of
  20   defendant’s bad faith.
  21         62.   Plaintiff has been required to retain the services of attorneys to
  22   commence this action and is entitled to contractual and/or statutory attorneys’
  23   fees and costs.
  24                                          ***
  25
  26
  27
  28


                                 COMPLAINT FOR DAMAGES
                                           15
Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 16 of 119 Page ID #:16



   1        WHEREFORE, plaintiff prays for judgment against the above-named
   2   defendant and each of them, jointly and severally, as follows:
   3        For general damages in an amount in excess of the policy limits;
   4        For special damages in an amount in excess of the policy limits;
   5        For punitive damages in an amount to be determined at trial;
   6        For reasonable attorneys’ fees and costs of suit;
   7        For interest at the statutory rate; and
   8        For such other and further relief as the Court deems just and proper.
   9
  10   DATED:     May 1, 2020                    LAW OFFICES OF
                                                 BASTIAN & DINI
  11
                                                 /s/ Robert L. Bastian, Jr.
  12                                             ROBERT L. BASTIAN, JR.,
                                                 MARINA R. DINI
  13                                             Attorneys for Plaintiff
                                                 ERNST & HAAS
  14                                             MANAGEMENT COMPANY
  15
                                DEMAND FOR JURY TRIAL
  16
  17        Plaintiff hereby demands a jury trial.
  18
       DATED:     May 1, 2020                    LAW OFFICES OF
  19                                             BASTIAN & DINI
  20                                             /s/ Robert L. Bastian, Jr.
                                                 ROBERT L. BASTIAN, JR.,
  21                                             MARINA R. DINI
                                                 Attorneys for Plaintiff
  22                                             ERNST & HAAS
                                                 MANAGEMENT COMPANY
  23
  24
  25
  26
  27
  28


                                COMPLAINT FOR DAMAGES
                                          16
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    The "Original" insurance policy, entitled
   C-Suite, Commercial Crime Insurance Policy,
    Policy Number: UC21253080.12, 30 pages
                   EXHIBIT 1     Complaint page 17 of 119
          Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 18 of 119 Page ID #:18
                               DECLARATIONS
                                            Hiscox  InsuranceCompany
                                            Hiscox Insurance  Company Inc
                                            233 North Michigan Ave., Suite 1840 Chicago, Illinois 60601
         Policy Number: UC21253080.12

         Broker No.:       US 0000215                            Broker Name:         RT Specialty, LLC (Irvine CA)
         Policy No.:       UC21253080.12                         Broker Address:      2603 Main Street Ste 800
                                                                                      Irvine, California 92614
         Renewal of:       New
                           New


         Commercial Crime Insurance Policy
               Named Insured:                   Ernst & Haas Management Company Inc.
               Mailing Address:                 4000 Long Beach Blvd
                                                Long Beach, California 90807-2617


               Policy Period:                   01/18/2012 to 01/18/2013
                                                12:01 A.M. at Your mailing address shown above


                                                                              Limit of Insurance          Deductible Amount
               Insuring Agreements                                            (Per Occurrence)            (Per Occurrence)


               Coverage A: Fidelity
                  (1) Employee Theft                                          $ 250,000                   $ 5,000
                  (2) ERISA (Limit Applies Per Plan)                          Not Covered                 N/A
                  (3) Clients' Property                                       $ 250,000                   $ 5,000
                  (4) Vendor Theft                                            Not Covered                 N/A
               Coverage B: Forgery or Alteration
                  (1) Checks                                                  $ 250,000                   $ 5,000
                  (2) Credit, Debit or Charge Cards                           $ 250,000                   $ 5,000
                  (3) Personal Accounts                                       Not Covered                 N/A
               Coverage C: Inside and Outside the Premises
                  (1) Inside the Premises                                     $ 250,000                   $ 5,000
                  (2) Outside the Premises                                    $ 250,000                   $ 5,000
               Coverage D: Computer and Funds Transfer Fraud
                  (1) Computer Fraud                                          $ 250,000                   $ 5,000
                  (2) Funds Transfer Fraud                                    $ 250,000                   $ 5,000
               Coverage E: Money Orders and Counterfeit Money                 $ 250,000                   $ 5,000
               Coverage F: Telephone Toll Fraud                               Not Covered                 N/A
               Coverage G: Identity Fraud Expense                             Not Covered                 N/A
               Coverage H: Virus and Licensing Violations
                  (1) Virus Restoration                                       Not Covered                 N/A
                  (2) Licensing Violation Fines and Penalties                 Not Covered                 N/A
               Coverage I: Expense                                            Not Covered                 N/A


             Coverage is provided only if an amount is shown opposite an Insuring Agreement. If the amount is left blank or "Not
             Covered" is inserted, such Insuring Agreement and any other reference thereto in this policy is deleted.


Telephone (914) 273-7400 Facsimile (914) 273-4716         www.hiscoxusa.com           Email hiscox.usa@hiscox.com            (Page 1)
                                                                                                                Complaint page 18 of 119
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                               DECLARATIONS
                                           Hiscox  InsuranceCompany
                                           Hiscox Insurance  Company Inc
                                           233 North Michigan Ave., Suite 1840 Chicago, Illinois 60601
         Policy Number: UC21253080.12

               Endorsements Forming Part Of This Policy When Issued:
                (1) E9703.1. California Amendatory Endorsement


               Cancellation Of Prior Insurance Issued By Us:
                By acceptance of this Policy you give us notice cancelling prior policy Nos.
                N/A ; the cancellation to be effective at the time this Policy becomes effective.

               Total Premium:            $ 1,580.00


               Notice of Claim to:       Hiscox
                                         Attn: Crime & Fidelity Claims Dept.
                                         520 Madison Avenue, 32nd Floor New York, NY 10022
                                         Email - d&oclaims@hiscox.com
                                         Fax - 212-922-9652

        IN WITNESS WHEREOF, the Insurer indicated above has caused this Policy to be signed by its President and Secretary, but this
        Policy shall not be effective unless also signed by our duly authorized representative.




       President




        Secretary




       Authorized Representative

       01/18/2012

       Date

       Hiscox Insurance Company Inc
       357 Main Street
       Armonk, New York 10504




Telephone (914) 273-7400 Facsimile (914) 273-4716        www.hiscoxusa.com              Email hiscox.usa@hiscox.com        (Page 2)

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                         Crime Insurance
                         Policy Form

                         Various provisions in this policy restrict coverage. Read the entire policy
                         carefully to determine rights, duties and what is or is not covered. Those words
                         (other than the words in the captions) which are printed in Boldface are defined
                         in the Policy.


                         In return for the payment of premium, subject to all the terms and conditions of this
                         policy, and in reliance upon the statements made by You in the Application, which
                         forms a part of this Policy, We agree with You to provide the insurance as stated in this
                         policy:


I. Insuring Agreements   Coverage is provided under the following Insuring Agreements for which a Limit of
                         Insurance is shown in the Declarations and applies to loss that You sustain resulting
                         directly from an Occurrence taking place at any time which is Discovered by You or
                         an Executive Employee during the Policy Period shown in the Declarations or during
                         the period of time provided in the Extended Period To Discover Loss Condition:
                         Coverage A: Fidelity
                         (1) Employee Theft
                         We will pay for loss of or damage to Money, Securities and Other Property resulting
                         directly from Theft and/or Forgery committed by an Employee, whether identified or
                         not, acting alone or in collusion with other persons.
                         (2) ERISA
                         We will pay, directly to an Employee Benefit Plan, for loss of or damage to Money,
                         Securities and Other Property resulting directly from fraudulent or dishonest acts
                         committed by a Fiduciary of any Employee Benefit Plan, whether identified or not,
                         acting alone or in collusion with other persons.
                         The Limit of Insurance shown in the Declarations for Coverage A(2) ERISA shall apply
                         to each and every Employee Benefit Plan sustaining such loss or damage. In the
                         event of an Occurrence involving both Coverage A(1) Employee Theft and Coverage
                         A(2) ERISA, the Limit of Insurance shown in the Declarations for Coverage A(2) shall
                         be in addition to the Limit of Insurance shown for Coverage A(1) Employee Theft.
                         If the Limit of Insurance for Coverage A(2) ERISA no longer complies with the
                         minimum amount of coverage required for such Employee Benefit Plan(s) under
                         ERISA (unless the Limit of Insurance no longer complies due to investment in non-
                         qualified assets), but which would have complied at the time the Policy was issued, We
                         agree to increase the Coverage A(2) ERISA Limit of Insurance with regard to such
                         Employee Benefit Plan(s) so as to equal the minimum amount of coverage required
                         under ERISA.
                         The Deductible Amount does not apply to Coverage A(2) ERISA.
                         (3) Clients’ Property
                         We will pay for loss of or damage to Money, Securities and Other Property sustained

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                Crime Insurance
                Policy Form

                 by Your Client resulting directly from Theft and/or Forgery committed by an identified
                 Employee, acting alone or in collusion with other persons, including an Employee in
                 collusion with an Employee of Your Client.

                 (4) Vendor Theft
                 We will pay for loss of or damage to Money, Securities and Other Property resulting
                 directly from Theft committed by an identified Employee of Your Vendor (other than
                 one with an ownership interest of greater than 25% in the Vendor) acting alone or in
                 collusion with other persons.
                 This coverage shall only apply to the amount of loss You cannot recover under the
                 contract with the Vendor and from any insurance or indemnity carried by, or for the
                 benefit of the Vendor or customers of the Vendor.
                 The Limit of Insurance shown for Coverage A(4) Vendor Theft shall be part of, not in
                 addition to, the Limit of Insurance shown for Coverage A(1) Employee Theft.
                 The following Condition applies to Coverage A and all subparts:
                        (i) All subparts of Coverage A terminate as to any Employee as soon as an
                            Executive Employee not in collusion with the Employee learns of Theft,
                            Forgery or any other dishonest act committed by the Employee:
                             (1) after becoming employed by You; or
                             (2) if such Theft, Forgery or dishonest act exceeded $10,000, before
                                 becoming employed by You.
                 Coverage B: Forgery or Alteration
                 (1) Checks
                 We will pay for loss resulting directly from Forgery or alteration of checks, drafts,
                 promissory notes, convenience checks, HELOC checks, or similar written promises,
                 orders or directions to pay a sum certain in Money that are:
                        (i) Made or drawn by or drawn upon You; or
                        (ii) Made or drawn by one acting as Your agent;
                 or that are purported to have been so made or drawn.
                 (2) Credit, Debit or Charge Cards
                 We will pay for loss resulting directly from Forgery or alteration of written instruments
                 required in conjunction with any credit, debit, convenience, stored-value or charge card
                 issued to You or any Employee for business purposes as long as You or the
                 Employee have complied fully with the provisions, conditions or other terms under
                 which the credit, debit, convenience, stored-value or charge card was issued.
                 (3) Personal Accounts
                 We will pay for loss resulting directly from Forgery or alteration of checks, drafts,
                 promissory notes, convenience checks, HELOC checks, or similar written promises,

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                Crime Insurance
                Policy Form

                 orders or directions to pay a sum certain in Money that are made or drawn by or drawn
                 upon a personal account of an Executive Employee or that are purported to have
                 been so made or drawn.
                 The following Conditions apply to Coverage B and all subparts:
                        (i) A substitute check as defined in the Check Clearing for the 21st Century Act
                            shall be treated the same as the original it replaced;
                        (ii) Signatures that are produced or reproduced electronically, mechanically or by
                             other means shall be treated the same as handwritten signatures;
                        (iii) You must include with Your proof of loss any instrument involved in that loss,
                              or, if that is not possible, an affidavit setting forth the amount and cause of
                              loss;
                        (iv) If You are sued for refusing to pay any instrument covered above on the
                             basis that it has been forged or altered, and You have Our written consent to
                             defend against the suit, We will pay for any reasonable legal expenses that
                             You incur and pay in that defence. The amount that We will pay is in addition
                             to the Limit of Insurance applicable to this Insuring Agreement. The
                             Deductible Amount does not apply to legal expenses paid under this
                             paragraph.
                 Coverage C: Inside and Outside the Premises
                 (1) Inside the Premises
                        (i) We will pay for loss of Money and Securities inside the Premises or
                            Banking Premises:
                             (1) resulting directly from Theft committed by a person present inside such
                                 Premises or Banking Premises; or
                             (2) resulting directly from disappearance or destruction.
                        (ii) We will pay for loss of or damage to Other Property:
                             (1) inside the Premises resulting directly from an actual or attempted
                                 Robbery of a Custodian; or
                             (2) inside the Premises in a safe or vault resulting directly from an actual or
                                 attempted Safe Burglary.
                        (iii) We will pay for loss from damage to the Premises or its exterior resulting
                              directly from an act covered by paragraph (i) or (ii) if You are the owner of the
                              Premises or are liable for damage to it.
                        (iv) We will pay for loss of or damage to a locked safe, vault, cash register, cash
                             box or cash drawer located inside the Premises resulting directly from an
                             actual or attempted Theft of or unlawful entry into those containers.
                  (2) Outside the Premises
                        (i) We will pay for loss of Money and Securities outside the Premises in the


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                Crime Insurance
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                             care and custody of a Messenger or an armored motor vehicle company
                             resulting directly from Theft, disappearance or destruction
                        (ii) We will pay for loss of or damage to Other Property outside the Premises in
                             the care and custody of a Messenger or an armored motor vehicle company
                             resulting directly from an actual or attempted Robbery.
                  The following Condition applies to Coverage C and all subparts:
                  We will only pay:
                        (i) for the amount of loss You cannot recover under Your contract with the
                            armored motor vehicle company and from any insurance or indemnity carried
                            by, or for the benefit of customers of, the armored motor vehicle company.
                        (ii) up to $10,000 for any one Occurrence of loss of or damage to:
                             (1) precious metals, precious or semi-precious stones, pearls, furs or
                                 completed or partially completed articles made of or containing such
                                 materials that constitute the principal value of such articles.
                             (2) Manuscripts, drawings, or records of any kind, or the cost of
                                 reconstructing them or reproducing any information contained in them.
                  Coverage D: Computer and Funds Transfer Fraud
                  (1) Computer Fraud
                  We will pay for loss of or damage to Money, Securities and/or Other Property
                  resulting directly from the use of any computer to fraudulently cause a transfer of that
                  property from inside the Premises or Banking Premises:
                        (i) to a person (other than a Messenger) outside those Premises or Banking
                            Premises; or
                        (ii) to a place outside those Premises or Banking Premises.
                  We will only pay up to $10,000 for any one Occurrence of loss of or damage to
                  manuscripts, drawings, or records of any kind, or the cost of reconstructing them or
                  reproducing any information contained in them.
                  (2) Funds Transfer Fraud
                  We will pay for loss of Money and Securities resulting directly from a Fraudulent
                  Instruction directing a financial institution to transfer, pay or deliver Money and
                  Securities from Your Transfer Account.
                  Coverage E: Money Orders and Counterfeit Money
                  We will pay for loss resulting directly from Your having accepted in good faith, in
                  exchange for merchandise, Money or services:
                        (i) money orders issued by any post office, express company or bank that are
                            not paid upon presentation; or
                        (ii) Counterfeit Money that is acquired during the regular course of business.


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                Crime Insurance
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                  Coverage F: Telephone Toll Fraud
                  We will pay for loss from long distance telephone charges incurred by You resulting
                  directly from fraudulent use or fraudulent manipulation of an Account Code or
                  System Password required to gain access into Your Voice Computer System,
                  provided such loss did not result from the failure to:
                        (i) install and maintain in operating condition a call disconnect feature to
                            terminate a caller’s access after three unsuccessful attempts to enter an
                            Account Code;
                        (ii) incorporate a System Password; or
                        (iii) change a System Password every 60 days.
                  We will only pay for loss resulting from toll call charges made on telephone lines
                  directly controlled by one Voice Computer System occurring for a period of not more
                  than 30 days inclusive of the date on which the first such toll call charges were made.

                  Coverage G: Identity Fraud Expense
                  We will pay for Identity Fraud Expenses incurred by You or any Executive
                  Employee resulting directly from Identity Fraud.
                  Coverage H: Virus and Licensing Violations
                  (1) Virus Restoration
                  We will pay for costs that You incur to restore or replace damaged or destroyed
                  Electronic Data or Computer Programs stored within Your Computer System
                  resulting directly from:
                        (i) a virus directed solely against You designed to damage or destroy
                            Electronic Data or Computer Programs and introduced maliciously by a
                            natural person; or
                        (ii) vandalism by a person who has gained unauthorized access to Your
                             Computer System;
                  including reasonable costs that You incur to restore Your Computer System to the
                  level of operational capability that existed before the virus or vandalism occurred.
                  (2) Licensing Violation Fines and Penalties
                  We will pay for fines and penalties that You incur resulting directly from the
                  unauthorized reproduction of computer software by an Employee, in violation of a
                  licensing agreement with a third party vendor, provided the unauthorized reproduction
                  is done:
                        (i) without Your or an Executive Employee’s knowledge;
                        (ii) without the knowledge of any other person having responsibility for
                             compliance with the terms of the software licensing agreement;



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                     Crime Insurance
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                       and You are legally liable for the loss.
                       Coverage I: Expense
                       We will reimburse You for reasonable costs, fees or other expenses that You incur
                       and pay to an independent accounting, auditing or other service (which is not a
                       Client) used to determine the existence or amount of loss covered under this
                       insurance with Our prior written consent.
                       Any expense payable to You is only applicable to a covered loss which exceeds the
                       Deductible Amount subject to such covered loss.
                       Any expense payable to You is part of, not in addition to, the Limit of Insurance
                       subject to such covered loss.


II. Definitions        A. Account Code means a confidential and protected string of characters that
                          identifies or authenticates a person and permits that person to gain access to
                          Your Voice Computer System for the purpose of making long distance toll calls
                          or utilizing voice mail box messaging capabilities or similar functional features of
                          the system.
                       B. Banking Premises means the interior of that portion of any building occupied by
                          a financial institution or similar safe depository including a night depository chute,
                          ATM machine owned by such financial institution (wherever located) or safe of
                          such institution.
                       C. Client means any entity to which You provide goods or services under a written
                          agreement.
                       D. Computer Programs means a set of related electronic instructions which direct
                          the operations and functions of a computer or devices connected to it which
                          enable the computer or devices to receive, process, store, retrieve or send
                          Electronic Data.
                       E. Computer System means:
                             (i) computers and related peripheral components;
                             (ii) systems and applications software;
                             (iii) terminal devices; and
                             (iv) related communications networks;
                             by which Electronic Data is received, processed, stored, retrieved or sent.
                       F. Counterfeit Money means an imitation of Money that is intended to deceive and
                          to be taken as genuine.
                       G. Custodian means You, or any of Your partners or Members, or any Employee
                          while having care and custody of property inside the Premises, excluding any
                          person while acting as a Watchperson or janitor unless such person is also an
                          Employee.


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                  H. Discover or Discovered means the time when You or an Executive Employee
                     first becomes aware of facts which would cause a reasonable person to assume
                     that a loss of a type covered by this Policy has been or will be incurred,
                     regardless of when the act or acts causing or contributing to such loss occurred,
                     even though the exact amount or details of loss may not then be known.
                        Discover or Discovered also means the time when You or an Executive
                        Employee first receive notice of an actual or potential claim in which it is alleged
                        that You are liable to a third party under circumstances which, if true, would
                        constitute a loss under this Policy.
                  I.    Electronic Data means information, facts or computer programs stored as or on,
                        created or used on, or transmitted to or from computer software (including
                        systems and applications software), on hard or floppy disks, CD-ROMs, DVDs,
                        Blu-ray Discs, flash drives, tapes, drives, cells, data processing devices or any
                        other repositories of computer software which are used with electronically
                        controlled equipment.
                  J.    Employee means any:
                        (i)   natural person:
                              (1) while in Your service and for the first 60 days immediately after
                                  termination of service, unless such termination is due to Theft, Forgery
                                  or any other dishonest act committed by the Employee;
                              (2) who You compensate directly by salary, wages or commissions; and
                              (3) who You have the right to direct and control while performing services
                                  for You;
                        (ii) temporary Employee;
                        (iii) natural person who is leased to You;
                        (iv) natural person who is a former Employee, partner, Member, Manager,
                             director or trustee retained as a consultant while performing services for You;
                        (v) natural person who is a guest student or intern;
                        (vi) of Your Managers, directors or trustees while performing acts within the
                             usual duties of an Employee;
                        (vii) non-compensated officer;
                        (viii) volunteer;
                        (ix) committee member;
                        (x) Employee on military, disability, family medical or similar leave; and
                        (xi) Fiduciary, but only as respects Coverage A(2) ERISA;
                        Employee does not mean any agent (regardless of whether or not there is a
                        written agreement as specified in the definition of Vendor), broker, factor,
                        commission merchant, consignee, independent contractor or representative or

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                Crime Insurance
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                        person of the same general character not specified above.
                  K. Employee Benefit Plan means any welfare or pension benefit plan that is
                     sponsored by You whether or not such plan is subject to the Employee
                     Retirement Income Security Act of 1974 (ERISA) and any amendments thereto.
                  L. Executive Employee means Your proprietor, natural person partner, member of
                     the board of directors, member of the board of trustees, Member, Manager,
                     officer and any Employee in a risk management, general counsel, insurance or
                     human resources department or function.
                        (i) Solely with respect to Coverage A(2) ERISA, Executive Employee shall also
                            include a Fiduciary.
                        (ii) Solely with respect to Coverage G Identity Fraud Expense, Executive
                             Employee shall also include any spouse, child under the age of 18 or relative
                             living in the household of any Executive Employee.
                  M. Fiduciary means any natural person who is a trustee, officer, Employee,
                     administrator or manager, except an administrator or manager who is an
                     independent contractor of any Employee Benefit Plan; and a director or trustee
                     of Yours while that person is engaged in handling Money, Securities or Other
                     Property of any Employee Benefit Plan.
                  N. Forgery means the signing of the name of another person or organization with
                     the intent to deceive; it does not mean a signature which consists in whole or in
                     part of one’s own name signed with or without authority, in any capacity, for any
                     purpose.
                  O. Fraudulent Instruction means
                        (i) an electronic, telegraphic, cable, teletype, telefacsimile or telephone
                            instruction which purports to have been transmitted by You, but which was in
                            fact fraudulently transmitted by someone else without Your knowledge or
                            consent;
                        (ii) a written instruction (other than those described in Coverage B) issued by
                             You, which was forged or altered by someone other than You without Your
                             knowledge or consent, or which purports to have been issued by You, but
                             was in fact fraudulently issued without Your knowledge or consent; or
                        (iii) an electronic, telegraphic, cable, teletype, telefacsimile, telephone or written
                              instruction initially received by You which purports to have been transmitted
                              by an Employee but which was in fact fraudulently transmitted by someone
                              else without Your or the Employee’s knowledge or consent.
                  P. Identity Fraud means the act of knowingly transferring or using, without lawful
                     authority, a means of identification of Your business or any covered individual
                     with the intent to commit, or to aid or abet another to commit, any unlawful activity
                     that constitutes a violation of federal law or a felony under any applicable state or
                     local law.


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                Crime Insurance
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                  Q. Identity Fraud Expenses means:
                        (i)   advertising and public relations expenses incurred by You to restore Your
                              business reputation as a result of an Identity Fraud;
                        (ii) costs incurred by You or any covered individual for notarizing affidavits or
                             similar documents attesting to fraud required by financial institutions or
                             similar credit grantors or credit agencies;
                        (iii) costs incurred by You or any covered individual for certified mail to law
                              enforcement agencies, credit agencies, financial institutions or similar credit
                              grantors;
                        (iv) costs incurred by You or any covered individual for obtaining credit reports;
                        (v) lost income incurred by You or any covered individual resulting from time
                            taken off work to complete fraud affidavits, meet with or talk to law
                            enforcement agencies, credit agencies and/or legal counsel, up to a
                            maximum payment of $250 per day. Total payment for lost income is not to
                            exceed $10,000 or the Limit of Insurance shown in the Declarations,
                            whichever is less;
                        (vi) loan application fees, incurred by You or any covered individual for
                             reapplying for a loan when the original application is rejected solely because
                             the lender received incorrect credit information;
                        (vii) reasonable attorney fees to:
                              (1)    defend lawsuits brought against You by merchants, vendors,
                                     suppliers, financial institutions or their collection agencies;
                              (2)    remove any criminal or civil judgements wrongly entered against You;
                                     and
                              (3)    challenge the accuracy or completeness of any information in a
                                     consumer credit report for You;
                        (viii) charges incurred by You or any covered individual for long distance
                               telephone calls to merchants, vendors, suppliers, customers, law
                               enforcement agencies, financial institutions or similar credit grantors, or credit
                               agencies to report or discuss an actual Identity Fraud; and any other
                               reasonable expenses incurred by You or any covered individual with Our
                               written consent.
                  R. Manager means a person serving in a directorial capacity for a limited liability
                     company.
                  S. Member means an owner of a limited liability company represented by its
                     membership interest, who also may serve as a Manager.
                  T. Messenger means You, or a relative of Yours, or any of Your partners or
                     Members, or any Employee while having care and custody of property outside
                     the Premises.


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                  U. Money means:
                        (i) currency, coins, and bank notes in current use anywhere in the world and
                            having a face value;
                        (ii) bullion; and
                        (iii) traveller’s checks, register checks and money orders held for sale to the
                              public.
                  V. Occurrence means:
                        (i) Under Coverage A Fidelity and H(2) Fines and Penalties:
                             (1) an individual act;
                             (2) the combined total of all separate acts whether or not related; or
                             (3) a series of acts whether or not related;
                             committed by an Employee, Fiduciary or Vendor Employee acting alone or
                             in collusion with other persons, during the Policy Period shown in the
                             Declarations, before such Policy Period or both.
                        (ii) Under Coverage B Forgery or Alteration:
                             (1) an individual act;
                             (2) the combined total of all separate acts whether or not related; or
                             (3) a series of acts whether or not related;
                             committed by a person acting alone or in collusion with other persons,
                             involving one or more instruments, during the Policy Period shown in the
                             Declarations, before such Policy Period or both.
                        (iii) Under Coverage H(1) Virus Restoration paragraph (i): As respects a virus, all
                              covered costs incurred by You between the time the damage or destruction is
                              Discovered and the time Your Computer System is restored to the level of
                              operational capability that existed before the virus occurred. Recurrence of
                              the same virus after Your Computer System has been restored shall
                              constitute a separate occurrence.
                        (iv) Under all other coverages:
                             (1) an individual act or event;
                             (2) the combined total of all separate acts or events whether or not related;
                                 or
                             (3) a series of acts or events whether or not related;
                             committed by a person acting alone or in collusion with other persons, or not
                             committed by any person, during the Policy Period shown in the Declarations,
                             before such Policy Period or both.
                  W. Other Property means any tangible property other than Money and Securities


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                        that has intrinsic value. Other Property does not include Computer Programs,
                        Electronic Data or any property specifically excluded under this Policy.
                  X. Premises means the interior of that portion of any building You occupy in
                     conducting Your business.
                  Y. Robbery means the unlawful taking of property from the care and custody of a
                     person by one who has:
                        (i) caused or threatened to cause that person bodily harm; or
                        (ii) committed an obviously unlawful act witnessed by that person.
                  Z. Safe Burglary means the unlawful taking of:
                        (i) Property from within a locked safe or vault by a person unlawfully entering the
                            safe or vault as evidenced by marks of forcible entry upon its exterior; or
                        (ii) A safe or vault from inside the Premises.
                  AA. Securities means negotiable or nonnegotiable instruments or contracts
                      representing either Money or property and includes:
                        (i) tokens, tickets, revenue and other stamps (whether represented by actual
                            stamps or unused value in a meter) in current use;
                        (ii) casino chips issued by You; and
                        (iii) evidences of debt issued in connection with credit or charge cards, which
                              cards are not issued by You;
                        but does not include Money.
                  BB. Subsidiary means any corporation or limited liability company in which, on or
                      prior to the effective date of this policy, You own or control directly, or through
                      one or more Subsidiaries, more than fifty percent (50%) of the outstanding
                      securities or voting rights representing the right to elect or appoint such entity’s
                      board of directors, board of trustees, board of managers or a functional
                      equivalent.
                  CC. System Administration means the performance of any security function
                      including, but not limited to:
                        (i) defining authorized persons to access the system;
                        (ii) adding, deleting or changing Account Codes or passwords;
                        (iii) installing or deleting any system option which directs telephone call routing or
                              adds, drops or moves telephone lines; or
                        (iv) any other activity allowed by a hardware or software-based system option
                             that has been incorporated by a manufacturer or a vendor into a Voice
                             Computer System provided the system is not intended for the sole use of
                             the manufacturer or vendor.
                  DD. System Maintenance means performing hardware and software installation,


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                        diagnostic and correction and similar activities that are performed in the usual
                        custom and practice by a manufacturer or vendor to establish or maintain the
                        basic operational functionality of a Voice Computer System.
                  EE. System Password means a confidential and protected string of characters that
                      identifies or authenticates a person and permits that person to gain access to
                      Your Voice Computer System to perform System Administration or System
                      Maintenance or a component thereof.
                  FF. Theft means the unlawful taking of property to the deprivation of the Insured.
                      Solely with respect to Coverage A(3) Clients’ Property, Theft shall mean the
                      unlawful taking of property to the deprivation of a Client.
                  GG.     Transfer Account means an account maintained by You at a financial
                     institution from which You can initiate the transfer, payment or delivery of Money
                     or Securities:
                        (i) by means of electronic, telegraphic, cable, teletype, telefacsimile or telephone
                            instructions communicated directly through an electronic funds transfer
                            system; or
                        (ii) by means or written instructions (other than those described in Coverage B)
                             establishing the conditions under which such transfers are to be initiated by
                             such financial institution through an electronic funds transfer system.
                  HH. Vendor means an entity that provides a service to You under a written
                      agreement which includes a requirement to provide Crime or Fidelity insurance
                      covering Your property in the care, custody and control of the Vendor and/or its
                      Employees for a limit equal to or greater than that shown in the Declarations of
                      this Policy under Coverage A(1) Employee Theft. If such agreement is not valid
                      or collectable then this Policy will respond only to that portion of loss which would
                      have been excess of such requirement.
                        However, Vendor does not include any financial institution, asset manager,
                        broker, dealer or armored motor vehicle company.
                  II. Voice Computer System means a computer system installed in one location
                      which functions as a private branch exchange (PBX), voice mail processor,
                      automated call attendant or provides a similar capability used for the direction or
                      routing of telephone calls in a voice communications network.
                  JJ. Watchperson means any person retained by You specifically to have care and
                      custody of property inside the Premises and who has no other duties. However,
                      Watchperson does not include an Employee.
                  KK. We, Us or Our means the insurance company shown in the Declarations.
                  LL. You or Your means:
                        (i) the Named Insured shown in the Declarations;
                        (ii) any Subsidiary thereof; and


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                             (iii) solely with respect to Coverage A(2) ERISA, any Employee Benefit Plan.


III. Exclusions        This Policy does not cover:
                       A. Acts Committed by You, Your Partners or Your Members
                             Loss resulting from Theft or any other dishonest act committed by:
                             (i) You; or
                             (ii) any of Your partners or Members;
                             whether acting alone or in collusion with other persons.
                       B. Acts of Employees Learned of by You Prior to the Policy Period
                             Loss caused by an Employee if the Employee had also committed Theft,
                             Forgery or any other dishonest act prior to the effective date of this Policy and
                             You or an Executive Employee not in collusion with the Employee, learned of
                             that Theft, Forgery or dishonest act prior to the Policy Period shown in the
                             Declarations.
                             However, this provision shall not apply if the Theft, Forgery or other dishonest
                             act occurred prior to the Employee becoming Your Employee and the amount
                             of such act did not exceed $10,000.
                       C. Acts of Employees, Managers, Directors, Trustees or Representatives
                             Loss resulting from Theft, Forgery or any other dishonest act committed by any
                             of Your Employees, Managers, directors, trustees or authorized
                             representatives:
                             (i) whether acting alone or in collusion with other persons; or
                             (ii) while performing services for You or otherwise;
                             except when covered under Coverage A Fidelity and H Virus and Licensing
                             Violations.
                       D. Confidential Information
                             Loss resulting from:
                             (i) the unauthorized disclosure of Your confidential information including, but not
                                 limited to, patents, trade secrets, processing methods or customer lists; or
                             (ii) the unauthorized use or disclosure of confidential information of another
                                  person or entity which is held by You including, but not limited to, financial
                                  information, personal information, credit card information or similar non-public
                                  information.
                       E. Governmental Action
                             Loss resulting from seizure or destruction of property by order of governmental
                             authority.


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                  F. Indirect Loss
                        Loss that is an indirect result of an Occurrence covered by this Policy including,
                        but not limited to, loss resulting from:
                        (i) Your inability to realize income that You would have realized had there been
                            no loss of or damage to Money, Securities or Other Property.
                        (ii) payment of damages of any type for which You are legally liable. But, We
                             will pay compensatory damages arising directly from a loss covered under
                             this Policy.
                        (iii) payment of costs, fees or other expenses You incur in establishing the
                              existence or the amount of loss under this Policy except when covered under
                              Coverage I Expense.
                  G. Legal Fees, Costs and Expenses
                        Fees, costs and expenses incurred by You which are related to any legal action,
                        except when covered under Coverage B Forgery or Alteration or Coverage G
                        Identity Fraud Expense.
                  H. Nuclear Hazard
                        Loss or damage resulting from nuclear reaction or radiation, or radioactive
                        contamination, however caused.
                  I.    War or Military Action
                        Loss or damage resulting from:
                        (i) war, including undeclared or civil war;
                        (ii) warlike action by a military force, including action in hindering or defending
                             against an actual or expected attack, by any government, sovereign or other
                             authority using military personnel or other agents; or
                        (iii) insurrection, rebellion, revolution, usurped power, or action taken by
                              governmental authority in hindering or defending against any of these.
                  Coverage A Fidelity does not cover:
                  J.    Inventory Shortages
                        Loss, or that part of any loss, the proof of which as to its existence or amount is
                        dependent upon:
                        (i) an inventory computation; or
                        (ii) a profit and loss computation.
                        However, where You establish wholly apart from such computations that You
                        have sustained a loss, then You may offer Your inventory records and actual
                        physical count of inventory in support of the amount of loss claimed.
                  K. Trading


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                        Loss resulting from trading, whether in Your name or in a genuine or fictitious
                        account. Provided, however, that this exclusion shall not apply to direct losses
                        caused by Theft and/or Forgery which result in improper financial gain to an
                        Employee (direct losses as used herein shall mean only the amount of improper
                        financial gain to such Employee, which shall not include salary, commissions,
                        fees or other compensation, including, but not limited to promotions and raises
                        associated with employment, paid by You to such Employee).
                  Coverage C Inside and Outside the Premises does not cover:
                  L. Accounting or Arithmetical Errors or Omissions
                        Loss resulting from accounting or arithmetical errors or omissions.
                  M. Exchanges or Purchases
                        Loss resulting from the giving or surrendering of property in any exchange or
                        purchase.
                  N. Fire
                        Loss or damage resulting from fire, however caused, except:
                        (i) Loss of or damage to Money and Securities; and
                        (ii) Loss from damage to a safe or vault.
                  O. Kidnap, Ransom and Extortion
                        Loss of Money, Securities or Other Property resulting directly or indirectly from
                        kidnap, extortion or ransom payments surrendered to any person as a result of a
                        threat, including, but not limited to a threat of bodily harm, property damage,
                        denial of service, virus or other malicious instruction, product contamination
                        and/or dissemination of confidential information.
                  P. Money Operated Devices
                        Loss of property contained in any money operated device unless the amount of
                        Money deposited in it is recorded by a continuous recording instrument in the
                        device.
                  Q. Motor Vehicles or Equipment and Accessories
                        Loss of or damage to motor vehicles, trailers or semi-trailers or equipment and
                        accessories attached to them.
                  R. Vandalism
                        Loss from damage to the Premises or its exterior, or to any safe, vault, cash
                        register, cash box, cash drawer or Other Property by vandalism or malicious
                        mischief.
                  S. Voluntary Parting of Title to or Possession of Property
                        Loss resulting from Your, or anyone acting on Your express or implied authority,
                        being induced by any dishonest act to voluntarily part with title to or possession


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                                    of any property.
                               Coverage D Computer and Funds Transfer Fraud does not cover:
                              T. Credit Card Transactions
                                    Loss resulting from the use or purported use of credit, debit, charge, access,
                                    convenience, identification, stored-value or other cards or the information
                                    contained on such cards.
                              U. Inventory Shortages
                                    Loss, or that part of any loss, the proof of which as to its existence or amount is
                                    dependent upon:
                                    (i) an inventory computation; or
                                    (ii) a profit and loss computation.
                                    However, where You establish wholly apart from such computations that You
                                    have sustained a loss, then You may offer Your inventory records and actual
                                    physical count of inventory in support of the amount of loss claimed.
                               Coverage H Virus and Licensing Violations does not cover:
                              V. Errors or Omissions
                                    Loss resulting from errors or omissions in the design, programming or processing
                                    of Computer Programs or Electronic Data.
                              W. Fraudulent Preparation or Input
                                    Loss resulting from the fraudulent preparation or input of Electronic Data or
                                    Computer Programs.


IV. Limit of Insurance         The most We will pay for all loss resulting directly from an Occurrence is the
                               applicable Limit of Insurance shown in the Declarations.
                               If any loss is covered under more than one Coverage, the most We will pay for such
                               loss shall not exceed the largest Limit of Insurance available under any one of those
                               Coverages. However, this provision does not apply to Coverage A(2) ERISA.


V. Deductible                  We will not pay for loss resulting directly from an Occurrence unless the amount of
                               loss exceeds the Deductible Amount shown in the Declarations. We will then pay the
                               amount of loss in excess of the Deductible Amount, up to the Limit of Insurance.


VI. Conditions                 Conditions applicable to all Coverages:
                               A. Additional Premises or Employees
                                    If, while this Policy is in force, You establish any additional Premises or hire
                                    additional Employees, other than through consolidation or merger with, or

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                        purchase or acquisition of assets or liabilities of, another entity, such Premises
                        and Employees shall automatically be covered under this Policy. Notice to Us of
                        an increase in the number of Premises or Employees need not be given and no
                        additional premium need be paid for the remainder of the Policy Period shown in
                        the Declarations.
                   B. Cancellation
                        (i) The first Named Insured shown in the Declarations may cancel this policy by
                            mailing or delivering to Us advance written notice of cancellation.
                        (ii) We may cancel this policy by mailing or delivering to the first Named Insured
                             written notice of cancellation at least:
                             (1) 15 days before the effective date of cancellation if We cancel for non-
                                 payment of premium; or
                             (2) 60 days before the effective date of cancellation if We cancel for any
                                 other reason.
                        (iii) We will mail or deliver Our notice to the first Named Insured’s last mailing
                              address known to Us.
                        (iv) Notice of cancellation will state the effective date of cancellation. The Policy
                             Period will end on that date.
                        (v) If this policy is cancelled, We will send the first Named Insured any premium
                            refund due. If We cancel, the refund will be pro rata. If the first Named
                            Insured cancels, the refund may be less than pro rata. The cancellation will
                            be effective even if We have not made or offered a refund.
                        (vi) If notice is mailed, proof of mailing will be sufficient proof of notice.
                   C. Changes
                        This Policy contains all the agreements between You and Us concerning the
                        insurance afforded. The First Named Insured shown in the Declarations is
                        authorized to make changes in the terms of this Policy with Our consent. This
                        Policy’s terms can be amended or waived only by endorsement issued by Us and
                        made a part of this Policy.
                   D. Concealment, Misrepresentation or Fraud
                        This Policy is void in any case of fraud by You as it relates to this Policy at any
                        time. It is also void if You, at any time, intentionally conceal or misrepresent a
                        material fact concerning:
                        (i) this Policy;
                        (ii) the property covered under this Policy;
                        (iii) Your interest in the property covered under this Policy; or
                        (iv) a claim under this Policy.



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                   E. Consolidation – Merger or Acquisition
                        (i) Except as provided in Paragraph (ii), if You consolidate or merge with, or
                            purchase or acquire the assets or liabilities of, another entity:
                             (1) You must give Us written notice as soon as possible and obtain Our
                                 written consent to extend the coverage provided by this Policy to such
                                 consolidated or merged entity or such purchased or acquired assets or
                                 liabilities. We may condition Our consent by requiring payment of an
                                 additional premium; but
                             (2) For the first 90 days after the effective date of such consolidation,
                                 merger or purchase or acquisition of assets or liabilities, the coverage
                                 provided by this Policy shall apply to such consolidated or merged entity
                                 or such purchased or acquired assets or liabilities, provided that all
                                 Occurrences causing or contributing to a loss involving such
                                 consolidation, merger or purchase or acquisition of assets or liabilities,
                                 must take place after the effective date of such consolidation, merger or
                                 purchase or acquisition of assets or liabilities.
                        (ii) For entities You acquire in which You own greater than fifty percent (50%) of
                             the voting stock or voting rights, coverage under this Policy shall
                             automatically become effective on the date of such acquisition with no
                             additional premium required, provided:
                             (1) All Occurrences causing or contributing to a loss involving the acquired
                                 entity must take place after the effective date of such acquisition; and
                             (2) The assets of the acquired entity do not exceed thirty five percent (35%)
                                 of Your total assets as reflected in Your most recent calendar quarter
                                 consolidated financial statements immediately preceding the effective
                                 date of the Policy.
                   F. Cooperation
                        You must cooperate with Us in all matters pertaining to this Policy as stated in its
                        terms and conditions.
                   G. Duties in the Event of Loss
                        After You or an Executive Employee Discovers a loss or a situation that may
                        result in loss of or damage to Money, Securities or Other Property that, in Your
                        best estimate, exceeds 50% of the Deductible Amount shown in the Declarations,
                        You must:
                        (i) notify Us as soon as practicable and in no event later than 90 days after
                            Discovery. If You have reason to believe that any loss (except for loss
                            covered under Coverage A Fidelity) involves a violation of law, You must also
                            notify the local law enforcement authorities.
                        (ii) submit to examination under oath at Our request and give Us a signed
                             statement of Your answers.


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                         (iii) produce for Our examination all pertinent records.
                         (iv) give Us a detailed, sworn proof of loss within 120 days.
                         (v) cooperate with Us in the investigation and settlement of any claim.
                         You must send Us, within 60 days after Our request, receipts, bills or other
                         records that support any claim for Identity Fraud Expenses covered under
                         Coverage G Identity Fraud Expense.
                   H. Examination of Your Books and Records
                         We may examine and audit Your books and records as they relate to this Policy
                         at any time during the Policy Period shown in the Declarations and up to 3 years
                         afterward.
                   I.    Extended Period to Discover Loss
                         We will pay for loss You sustained prior to the effective date of cancellation of
                         this Policy, which is Discovered by You or an Executive Employee:
                         (i) No later than 60 days from the date of that cancellation. However, this
                             extended period to Discover loss terminates immediately upon the effective
                             date of any other insurance obtained by You, whether or not such other
                             insurance provides coverage for loss sustained prior to its effective date.
                         (ii) No later than 1 year from the date of that cancellation with regard to any
                              Employee Benefit Plans under Coverage A(2) ERISA.
                   J.    Inspections and Surveys
                         (i) We have the right to:
                             (1) Make inspections and surveys at any time;
                             (2) Give You reports on the conditions We find; and
                             (3) Recommend changes.
                        (ii) We are not obligated to make any inspections, surveys, reports or
                             recommendations and any such actions We do undertake relate only to
                             insurability and the premiums to be charged. We do not make safety
                             inspections. We do not undertake to perform the duty of any person or
                             organization to provide for the health or safety of workers or the public. And
                             We do not warrant that conditions:
                             (1) Are safe or healthful; or
                             (2) Comply with laws, regulations, codes or standards.
                         (iii) This condition applies not only to Us, but also to any rating, advisory, rate
                               service or similar organization which makes insurance inspections, surveys,
                               reports or recommendations.
                   K. Joint Insured
                         (i) The first Named Insured will act for itself and for every other Insured for all

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                             purposes of this Policy. If the first Named Insured ceases to be covered, then
                             the largest Subsidiary, by asset size, will become the first Named Insured.
                        (ii) If any Insured, or partner, Member or officer of that Insured has knowledge of
                             any information relevant to this Policy, that knowledge is considered
                             knowledge of every Insured.
                        (iii) An Employee of any Insured is considered an Employee of every Insured.
                        (iv) If this Policy or any of its coverages is cancelled as to any Insured, loss
                             sustained by that Insured is covered only if it is Discovered by You or an
                             Executive Employee:
                             (1) No later than 60 days from the date of that cancellation. However, this
                                 extended period to Discover loss terminates immediately upon the
                                 effective date of any other insurance obtained by that Insured, whether
                                 from Us or another insurer, replacing in whole or in part the coverage
                                 afforded under this Policy, whether or not such other insurance provides
                                 coverage for loss sustained prior to its effective date.
                             (2) No later than 1 year from the date of that cancellation with regard to any
                                 Employee Benefit Plan(s) covered under Coverage A(2) ERISA.
                        (v) We will not pay more for loss sustained by more than one Insured than the
                            amount We would pay if all such loss had been sustained by one Insured
                            except as provided in Coverage A(2) ERISA.
                        (vi) Payment by Us to the first Named Insured for loss sustained by any Insured,
                             other than an Employee Benefit Plan, shall fully release Us on account of
                             such loss. Payment by Us to any Employee Benefit Plan(s) for loss
                             sustained by any Employee Benefit Plan(s), shall fully release Us on
                             account of such loss.
                   L. Legal Action Against Us
                        You may not bring any legal action against Us involving loss:
                        (i) unless You have complied with all the terms of this Policy;
                        (ii) until 90 days after You have filed proof of loss with Us; and
                        (iii) unless brought within 2 years from the date You or an Executive Employee
                              Discovered the loss.
                        If any limitation in this Condition is prohibited by law, such limitation is amended
                        so as to equal the minimum period of limitation provided by such law.
                   M. Liberalization
                        If We adopt any revision that would broaden the coverage under this Policy
                        without additional premium within 45 days prior to or during the Policy Period
                        shown in the Declarations, the broadened coverage will immediately apply to this
                        Policy.



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                   N. Other Insurance
                        If other valid and collectible insurance is available to You for loss covered under
                        this policy, We will only pay for the amount of loss that exceeds the Limit of
                        Insurance and Deductible Amount of that other insurance, whether You can
                        collect on it or not. Our payment for loss is subject to the terms and conditions of
                        this Policy.
                        However, if loss covered under this policy is subject to a Deductible, We will
                        reduce the Deductible Amount shown in the Declarations by the sum total of all
                        such other insurance plus any Deductible Amount applicable to that other
                        insurance.
                   O. Ownership of Property; Interests Covered
                        With respect to Coverage A(1) Employee Theft and A(4) Vendor Theft, the
                        property covered under this Policy is limited to property that You own or lease;
                        With respect to Coverage A(3) Clients’ Property, the property covered under this
                        Policy is limited to property:
                        (i) that Your Client owns or leases; or
                        (ii) that Your Client holds for others whether or not Your Client is legally liable
                             for the loss of such property.
                        With respect to all other coverages, the property covered under this Policy is
                        limited to property:
                        (i) that You own or lease; or
                        (ii) that You hold for others whether or not You are legally liable for the loss of
                             such property.
                        However, this Policy is for Your benefit only. It provides no rights or benefits to
                        any other person or organization. Any claim for loss that is covered under this
                        Policy must be presented by You.
                   P. Policy Bridge – Discovery Replacing Loss Sustained
                        If this Policy replaces insurance that provided You with an extended period of
                        time after cancellation in which to discover loss and which did not terminate at
                        the time this Policy became effective:
                        (i) We will not pay for any loss that occurred during the Policy Period of that prior
                            insurance which is Discovered by You or an Executive Employee during
                            the extended period to Discover loss, unless the amount of loss exceeds the
                            Limit of Insurance and Deductible Amount of that prior insurance. In that
                            case, We will pay for the excess loss subject to the terms and conditions of
                            this Policy.
                        (ii) However, any payment We make for the excess loss will not be greater than
                             the difference between the Limit of Insurance and Deductible Amount of that
                             prior insurance and the Limit of Insurance shown in the Declarations. We will

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                Crime Insurance
                Policy Form

                             not apply the Deductible Amount shown in the Declarations to this excess
                             loss.
                   Q. Premiums
                        The first Named Insured shown in the Declarations:
                        (i) is responsible for the payment of all premiums; and
                        (ii) will be the payee for any return premiums We pay.
                   R. Records
                        You must keep records of all property covered under this Policy so that We can
                        verify the amount of any loss.
                   S. Recoveries
                        (i) Any recoveries, whether effected before or after any payment under this
                            Policy, whether made by Us or You, shall be applied net of the expense of
                            such recovery:
                             (1) First, to You in satisfaction of Your covered loss in excess of the amount
                                 paid under this Policy;
                             (2) Second, to Us in satisfaction of amounts paid in settlement of Your
                                 claim;
                             (3) Third, to You in satisfaction of any Deductible Amount; and
                             (4) Fourth, to You in satisfaction of any loss not covered under this Policy.
                        (ii) Recoveries do not include any recovery:
                             (1) From insurance, suretyship, reinsurance, security or indemnity taken for
                                 Our benefit; or
                             (2) Of original Securities after duplicates of them have been issued.
                   T. Territory
                        Where legally permissible, this Policy covers loss that You sustain resulting
                        directly from an Occurrence taking place anywhere in the world.
                   U. Transfer of Your Rights and Duties Under This Policy
                        Your rights and duties under this Policy may not be transferred without Our
                        written consent except in the case of death of an individual Named Insured.
                        If You die, Your rights and duties will be transferred to Your legal representative
                        but only while acting within the scope of duties as Your legal representative.
                        Until Your legal representative is appointed, anyone having proper temporary
                        custody of Your property will have Your rights and duties but only with respect to
                        that property.
                   V. Transfer of Your Rights of Recovery Against Others to Us
                        You must transfer to Us all Your rights of recovery against any person or

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                Crime Insurance
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                        organization for any loss You sustain and for which We have paid or settled.
                        You must also do everything necessary to secure those rights and do nothing
                        after loss to impair them.
                   W. Valuation – Settlement
                        (i) The value of any loss for purposes of coverage under this Policy shall be
                            determined as follows:
                             (1) Loss of Money but only up to and including its face value. We will, at
                                 Your option, pay for loss of Money issued by any country other than the
                                 United States of America:
                                  (i) At face value in the Money issued by that country; or
                                  (ii) In the United States of America dollar equivalent determined by the
                                        rate of exchange published in The Wall Street Journal on the day the
                                        loss was Discovered.
                             (2) Loss of Securities but only up to and including their face value at the
                                 close of business on the day the loss was Discovered. At Our option,
                                 We may:
                                  (i) Pay the market value of such Securities or replace them in kind, in
                                      which event You must assign to Us all Your rights, title and interest
                                      in and to those Securities; or
                                  (ii) Pay the cost of any Lost Securities Bond required in connection with
                                       issuing duplicates of the Securities. However, We will be liable only
                                       for the payment of so much of the cost of the bond as would be
                                       charged for a bond having a penalty not exceeding the lesser of the:
                                        a. market value of the Securities at the close of business on the
                                           day the loss was Discovered; or
                                        b. the Limit of Insurance applicable to the Securities.
                             (3) Loss of or damage to Other Property or loss from damage to the
                                 Premises or its exterior for the replacement cost of the property without
                                 deduction for depreciation. However, We will not pay more than the
                                 least of the following:
                                  (i) The cost to replace the lost or damaged property with property of
                                      comparable material and quality and used for the same purpose;
                                  (ii) The amount You actually spend that is necessary to repair or replace
                                       the lost or damaged property; or
                                  (iii) The Limit of Insurance applicable to the lost or damaged property.
                                        With regard to paragraph (i) through (iii) above, We will not pay on a
                                        replacement cost basis for any loss or damage:
                                        a. Until the lost or damaged property is actually repaired or


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                Crime Insurance
                Policy Form

                                             replaced; and
                                        b. Unless the repairs or replacement are made as soon as
                                           reasonably possible after the loss or damage.
                                        If the lost or damaged property is not repaired or replaced, We will
                                        pay on an actual cash value basis.
                        (ii) We will, at Our option, settle loss or damage to property other than Money:
                             (1) In the Money of the country in which the loss or damage occurred; or
                             (2) In the United States of America dollar equivalent of the Money of the
                                 country in which the loss or damage occurred determined by the rate of
                                 exchange published in The Wall Street Journal on the day the loss was
                                 Discovered.
                        (iii) Any property that We pay for or replaces becomes Our property.




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 Hiscox Insurance Company Inc




                                              Endorsement 1

 NAMED INSURED: Ernst & Haas Management Company Inc.

 E9703.1 California Amendatory Endorsement                                                 Page 1 of 2

 In consideration of the premium charged, it is understood and agreed that the policy is modified as
 follows:

 1. In the CONDITIONS Clause, paragraph (ii) and (iii) of B. Cancellation are replaced by the
    following:

         (ii) All Policies In Effect For 60 Days Or Less
               If this policy has been effect for 60 days or less, and is not a renewal of a policy We have
               previously issued, We may cancel this policy by mailing or delivering to the first Named
               Insured at the mailing address shown in the policy and to the producer of record, advance
               written notice of cancellation, stating the reason for cancellation, at least:
               a. 10 days before the effective date of cancellation if We cancel for:
                     (1) Nonpayment of premium; or
                     (2) Discovery of fraud by:
                         (i) Any insured or his or her representative in obtaining this policy; or
                         (ii) You or Your representative in pursuing a claim under this policy.
               b. 30 days before the effective date of cancellation if We cancel for any other reason.
         (iii) All Policies In Effect For More Than 60 Days
               a. If this policy has been in effect for more than 60 days, or is a renewal of a policy We
                     issued, We may cancel this policy only upon the occurrence, after the effective date of
                     the policy, of one or more of the following:
                     (1) Nonpayment of premium, including payment due on a prior policy We issued and
                         due during the current policy term covering the same risks.
                     (2) Discovery of fraud or material misrepresentation by:
                         (i) Any insured or his or her representative in obtaining this policy; or
                         (ii) You or Your representative in pursuing a claim under this policy.
                     (3) A judgment by a court or an administrative tribunal that You have violated a
                         California or Federal law, having as one of its necessary elements an act which
                         materially increases any of the risks insured against.
                     (4) Discovery of willful or grossly negligent acts or omissions, or of any violations of
                         state laws or regulations establishing safety standards, by You or Your
                         representative, which materially increase any of the risks insured against.
                     (5) Failure by You or Your representative to implement reasonable loss control
                         requirements, agreed to by You as a condition of policy issuance, or which were
                         conditions precedent to Our use of a particular rate or rating plan, if that failure
                         materially increases any of the risks insured against.
                     (6) A determination by the Commissioner of Insurance that the:
                         (i) Loss of, or changes in, Our reinsurance covering all or part of the risk would
                              threaten Our financial integrity or solvency; or
                         (ii) Continuation of the policy coverage would:
                              1. Place Us in violation of California law or the laws of the state where We
                                  are domiciled; or
                              2. Threaten Our solvency.
                     (7) A change by You or Your representative in the activities or property of the
                         commercial or industrial enterprise, which results in a materially added, increased
                         or changed risk, unless the added, increased or changed risk is included in the
                         policy.




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 Hiscox Insurance Company Inc




                                                Endorsement 1

 NAMED INSURED: Ernst & Haas Management Company Inc.

 E9703.1 California Amendatory Endorsement                                                           Page 2 of 2

            b. We will mail or deliver advance written notice of cancellation, stating the reason for
               cancellation, to the first Named Insured, at the mailing address shown in the policy,
               and to the producer of record, at least:
               (1) 10 days before the effective date of cancellation if We cancel for nonpayment of
                   premium or discovery of fraud; or
               (2) 30 days before the effective date of cancellation if We cancel for any other reason
                   listed in Paragraph (iii)a.

 2. In the CONDITIONS Clause, the following is added to B. Cancellation and supersedes any other
    provision to the contrary:

        (vii) Nonrenewal
              a. Subject to the provisions of Paragraph b., if We elect not to renew this policy, We will
                 mail or deliver written notice stating the reason for nonrenewal to the first Named
                 Insured shown in the Declarations and to the producer of record, at least 60 days, but
                 not more than 120 days, before the expiration or anniversary date.
                 We will mail or deliver our notice to the first Named Insured, and to the producer of
                 record, at the mailing address shown in the policy.
              b. We are not required to send notice of nonrenewal in the following situations:
                 (1) If the transfer or renewal of a policy, without any changes in terms, conditions, or
                     rates, is between Us and a member of Our insurance group.
                 (2) If the policy has been extended for 90 days or less, provided that notice has been
                     given in accordance with Paragraph a.
                 (3) If You have obtained replacement coverage, or if the first Named Insured has
                     agreed, in writing, within 60 days of the termination of the policy, to obtain that
                     coverage.
                 (4) If the policy is for a period of no more than 60 days and You are notified at the
                     time of issuance that it will not be renewed.
                 (5) If the first Named Insured requests a change in the terms and conditions or risks
                     covered by the policy within 60 days of the end of the policy period.
                 (6) If We have made a written offer to the first Named Insured, in accordance with the
                     time frames shown in Paragraph a., to renew the policy under changed terms or
                     conditions or at an increased premium rate, when the increase exceeds 25%.

 3. In the CONDITIONS Clause, the following is added to paragraph W. Valuation - Settlement:

            Actual cash value is calculated as the amount it would cost to repair or replace covered
            property, at the time of loss or damage, with material of like kind and quality, subject to a
            deduction for deterioration, depreciation and obsolescence. Actual cash value applies to
            valuation of covered property regardless of whether that property has sustained partial or
            total loss or damage.
            The actual cash value of the lost or damaged property may be significantly less than its
            replacement cost.



 All other terms and conditions remain unchanged.

 CRI E9703 CA (06/10)     Includes copyrighted material of Insurance Services Offices, Inc., with its permission.




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 Hiscox Insurance Company Inc




 Endorsement effective: 01/18/2012            Policy No.:   UC21253080.12
 Endorsement No:        1                     Processed Date: 01/18/2012




                 By : Ed Donnelly
                 (Appointed Representative)




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                                 ECONOMIC AND TRADE SANCTIONS POLICYHOLDER
                                 NOTICE


Hiscox is committed to complying with the U.S. Department of Treasury Office of Foreign Assets Control (OFAC)
requirements. OFAC administers and enforces economic sanctions policy based on Presidential declarations of
national emergency. OFAC has identified and listed numerous foreign agents, front organizations, terrorists, and
narcotics traffickers as Specially Designated Nationals (SDN’s) and Blocked Persons. OFAC has also identified
Sanctioned Countries. A list of Specially Designated Nationals, Blocked Persons and Sanctioned Countries may be
found on the United States Treasury’s web site http://www.treas.gov/offices/enforcement/ofac/.

Economic sanctions prohibit all United States citizens (including corporations and other entities) and permanent
resident aliens from engaging in transactions with Specially Designated Nationals, Blocked Persons and Sanctioned
Countries. Hiscox may not accept premium from or issue a policy to insure property of or make a claim payment to a
Specially Designated National or Blocked Person. Hiscox may not engage in business transactions with a Sanctioned
Country.

A Specially Designated National or Blocked Person is any person who is determined as such by the Secretary of
Treasury.

A Sanctioned Country is any country that is the subject of trade or economic embargoes imposed by the laws or
regulations of the United States.

In accordance with laws and regulations of the United States concerning economic and trade embargoes, this policy
may be rendered void from its inception with respect to any term or condition of this policy that violates any laws or
regulations of the United States concerning economic and trade embargoes including, but not limited to the following:

     (1) Any insured under this Policy, or any person or entity claiming the benefits of such insured, who is or becomes
         a Specially Designated National or Blocked Person or who is otherwise subject to US economic trade
         sanctions;

     (2) Any claim or suit that is brought in a Sanctioned Country or by a Sanctioned Country government, where any
         action in connection with such claim or suit is prohibited by US economic or trade sanctions;

     (3) Any claim or suit that is brought by any Specially Designated National or Blocked Person or any person or
         entity who is otherwise subject to US economic or trade sanctions;

     (4) Property that is located in a Sanctioned Country or that is owned by, rented to or in the care, custody or control
         of a Sanctioned Country government, where any activities related to such property are prohibited by US
         economic or trade sanctions; or

     (5) Property that is owned by, rented to or in the care, custody or control of a Specially Designated National or
         Blocked Person, or any person or entity who is otherwise subject to US economic or trade sanctions.

Please read your Policy carefully and discuss with your broker/agent or insurance professional. You may also visit the
US Treasury’s website at http://www.treas.gov/offices/enforcement/ofac/.




Hiscox Inc.                               www.hiscoxusa.com                                                       Page 1 of 1
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 The Renewed insurance policy, C21253080.19.
    Policy Period 01/18/2019 to 01/18/2020.

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        CSG Insurance Services, Inc.                                        1026 W; El Norte Pkwy. #136
                                                                                  Escondido, CA 92026
        Ucense #0f'09638                                                          Pllor1e 760-746•0693
                                                                                     Fax 760-746-0694
                                                                                  csgins@sbcglobt1l.net

       January 11, 2019

       Ernst & Haas Property Management
       4000 Long Beach Blvd.
       Long Beach, CA 90807
       Attn: David Haas


       RE: Ernst & Haas Property Management - Crime Insurance Policy

       Dear David,

       Thank you for considering our agency for your insurance needs. We are pleased to
       enclose the Crime Insurance Policy for Ernst & Haas Property Management.

       Hiscox Insurance Company (Admitted A+XI) has issuing this policy for the annual term
       from January 18, 2019 through January 18, 2020.

       The annual premium for this policy is $1,702.00. Attached you will find our Invoice #9301,
       which is due by January 31, 2019.

       LIMITS: $250,000 (Employee Theft, Clients Property, Computer Fund and
               Transfer Fraud) - $5,000 Deductible

       Please review the attached policy for limits of liability, coverages and endorsements
       afforded by this coverage.

       After your review of the preceding and/or the attached should you have any questions or
       wish a more in-depth review, please contact our office. Once again, thank you for
       considering our agency for your insurance needs.

       Sincerely,


       Craig Camenson



       Enclosures




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                                                                             CSG INSURANCE SERVICES, INC.

        £SJ;
                                                                                1026 W. El Norte Pkwy. #136
                                   INVOICE                                          Escondido, CA 92026
                                                                             Phone (760) 746-0693 Fax (760) 746-0694
  Independent Insurance Aa•nt                                                                License #OF09638
TO:

Ernst & Haas Property Management                                                      INVOICE DATE:             January 11, 2019

4000 Long Beach Blvd.
Long Beach, CA 90807                                                                    INVOICE NO.:            9301



          PROJECT/PROPERTY              AMOUNT NOW DUE                        PAYMENT TERMS                            DUE DATE

Ernst & Haas Property Management             $1,702.00                               Full                           1/31/2019


                                                                       INSURANCE               EFFEC••vn
             DESCRIPTION                  POLICY NUMBER                                                                PREMIUM
                                                                        COMPANY                  DATES

Crime Insurance Policy                    UC21253080.19              Hiscox Ins. Co.         1/18/19-1/18/20              $1,702.00

                                                                                                                             $0.00

                                                                                                                             $0.00

                                                                                                                             $0.00

                                                                                                 Subtotal                 $1,702.00

                                                                                              Taxes & Fees


                                                                           Amount Now Due                                 $1,702.00

                                   Make all checks payable to CSG Insurance Services, Inc.


r·-----------------------------------------------------------------·-··
                                              Thank you for your business!




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          l'\tl"                            Commercial Crime Insurance Policy
   HISCOX C-Suite·


A modern insurance solution for fraud risks faced by businesses.
Please read this wording, together with any endorsements and the declarations, very carefully. If anything is not correct, please
notify us immediately. The policy describes your and our rights and duties.



Our promise to you
In return for the premium you have paid, we agree to insure you in accordance with the terms and conditions of the policy.


Your policy documents
Declarations Page
This contains a summary of policy information including the limits of liability and retention amounts you have selected.

General Terms and Conditions
This contains terms and conditions which apply to the policy in its entirety.

Coverage Parts
These contain terms and conditions which apply only to the coverage part in which they appear.

Endorsements
These modify the declarations page, general terms and conditions, and/or coverage parts.

Notices
These provide information that may affect your coverage as required by your state.



 Reporting a claim
Please inform us immediately if you have a claim or loss to report. Additional details on claim reporting provisions can be found on
the declarations page and/or coverage parts.

 Email: C-SuiteClaims@Hiscox.com




 Hiscox Inc.                                          T (646) 452-2353
 520 Madison Avenue 32nd Floor                        F (212) 922-9652
 New York, NY 10022                                   E hlscox.usa@hlscox.com                                           Page 1 of 1
 Administered by Hiscox Inc. d/b/a Hiscox Insurance   www.hiscoxbroker.com
 Agency in CA License No. 0F09668




                                                                                                          Complaint page 51 of 119
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                           HISCOX INSURANCE COMPANY INC. (A Stock Company)
        f\.('t                                    104 South Michigan Avenue Suite 600 Chicago, IL 60603
  HISCOX C-Suite·                                                    (646) 452-2353




Commercial Crime Insurance Policy
DECLARATIONS


Broker no.:                us 0000215                                           RT Specialty, LLC (Irvine CA)
Policy no.:                UC21253080.19                                        2601 Main Street Ste 450
Renewal of:                UC21253080.18                                        Irvine, CA 92614

1. Named insured:          Ernst & Haas Management Company Inc.
   Address:                4120 Atlantic Ave
                           Long Beach, CA 90807-2910


2. Policy period:          Inception date: 01/18/2019                          Expiration date: 01/18/2020
                           Inception date shown shall be at 12:01 A.M. (Standard Time) to expiration date shown above at
                           12:01 A.M. (Standard Time) at the address of the named insured.

3. General terms and       CSU P0001A CW (07-17)
   conditions wording:     The General Terms and Conditions applies to this policy in conjunction with the specific wording
                           detailed in each section below.

,. Endorsements:           E2507.1 - Nuclear Incident Exclusion Clause - liability-Direct (Broad) Endorsement
                           E2624.1 - War and Civil War Exclusion Endorsement
                           E1075.1 - California Amendatory Endorsement

5. Notification of         Hiscox Claims
   claims to:              520 Madison Avenue, 32nd floor
                           New York, NY 10022
                           Fax: 212-922-9652
                           Email: C-SuiteClaims@Hiscox.com


6. Total premium:          $1,702
   State surcharge:        N/A




CSUCRI O0001A CW (07/17)                                                                                   Page 1 of 3

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                                   HISCOX INSURANCE COMPANY INC. (A Stock Company)
                                                       104 South Michigan Avenue Suite 600 Chicago, IL 60603
        "'t"                                                              (646) 452-2353

  HISCOX C-Suite·
Commercial Crime Insurance Policy
DECLARATIONS


Crime Coverage Part: CSUCRI P0001A CW (07-17)

                                       l..imtt                           Deductible
Insuring Agreement A: Fidelity
  (1) Employee Theft                   $250,000 Per Occurrence           $5,000 Per Occurrence
  (2) Third Parties' Property          $250,000 Per Occurrence           $5,000 Per Occurrence
  (3) Vendor Theft                     Not Covered                       NIA
  (4) Executives' Property             Not Covered                       NIA
  (5) ERISA (Limit Applies Per Plan)   Not Covered                       NIA
Insuring Agreement B: Forgery
  (1) Checks                           $250,000 Per Occurrence           $5,000 Per Occurrence
  (2) Payment Cards                    $250,000 Per Occurrence           $5,000 Per Occurrence
  (3) Executives' Accounts             Not Covered                       NIA
  (4) Counterfeit                      $250,000 Per Occurrence           $5,000 Per Occurrence

Insuring Agreement C: Inside and
Outside Loss
  (1) Inside Premises                  $250,000 Per Occurrence           $5,000 Per Occurrence
  (2) Outside Transit                  $250,000 Per Occurrence           $5,000 Per Occurrence
  (3) Extortion                        Not Covered                       NIA

Insuring Agreement D: Tech Fraud
  (1) Computer                         $250,000 Per Occurrence            $5,000 Per Occurrence
  (2) Funds Transfer                   $250,000 Per Occurrence            $5,000 Per Occurrence
  (3) Cyber Deception                  Not Covered                        NIA
  (4) Customers' Accounts              Not Covered                        NIA
  (5) Erroneous Transfer               Not Covered                        NIA
  (6) Telephone Toll                   Not Covered                        NIA
  (7) Virus Restoration                Not Covered                        NIA
  (8) Licensing Violation              Not Covered                        NIA

Claim Expenses                         Not Covered
Identity Fraud Expenses                Not Covered                        NIA
Crime Premium:                         $1,702


IN WITNESS WHEREOF, the Insurer indicated above has caused this Policy to be signed by its President and Secretary, but this
Policy shall not be effective unless also signed by the Insurer's duly authorized representative.




CSUCRI 00001A CW (07/17)                                                                                       Page 2 of 3

                                                                                                               C.R lf:}f.::CADREN54




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                                                               ROBERT A. MCCALL
                                                               [617] 951.2061
                                                               rmccall@peabodyarnold.com




                                                               June 10, 2019

 By First Class Mail and Electronic Mail (dhaas@ErnstandHaas.com)
 Mr. David L. Haas
 Managing Broker
 Ernst and Haas Management Company, Inc.
 4120 Atlantic Avenue
 Long Beach, California 90807

        Insured:        Ernst & Haas Management Company Inc.
        Insurer:        Hiscox Inc. on behalf of certain Underwriters at Lloyd’s of London
                        (“Hiscox”)
        Policy:         C-Suite, Crime Coverage Part (the “Policy”)
        Policy No.:     UC21253080.19
        Policy Period:  01/18/2019 to 01/18/2020
        Hiscox Ref. No. 194002052

 Dear Mr. Haas:

         As you know, this firm has been investigating the above-referenced matter regarding an
 alleged loss whereby the Insured’s email was hacked, directing an employee to wire $200,000 to
 an unknown account (the “Wire Matter”). As discussed in more detail below, Hiscox must
 respectfully advise you that coverage is not available under the Policy for the Wire Matter as the
 alleged loss does not fall within any of the Insuring Agreements of the Policy.

                                          THE POLICY

         Hiscox issued to Ernst & Haas Management Company, Inc. (“Ernst”) Policy No.
 UC21253080.19, with a Policy Period of January 19, 2019 to January 19, 2020. The Policy
 provides coverage under each of the four Insuring Agreements. Insuring Agreements A(1) and
 (2), B(1), (2), and (4), C(1) and (2), and D(1) and (2), each have a $250,000 Limit of Insurance
 with a $5,000 Deductible Amount. The Policy does not contain any coverage under Insuring
 Agreement D(3), Cyber Deception.




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 Mr. David L. Haas
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                                 SUMMARY OF THE CLAIM

          Ernst is a property management company. On March 12, 2019, Krystale Allen (“Allen”),
 Ernst’s Accounts Payable Clerk, received an email from who she thought was David Haas,
 Managing Broker of Ernst (“Real David”), but was actually an unknown person(s) pretending to
 be him (“Fake David”). The email attached an invoice for $50,000 to be sent to Zang
 Investments, LLC. Allen processed the payment by wire transfer, with the payment going to an
 account at Fifth Third Bank. On March 18, 2019, Allen received a second email from Fake
 David, this time with an invoice attached for $150,000, also to be sent to Zang Investments,
 LLC. Fake David requested that the payment to be made in the same manner as the prior
 payment completed by Allen. Allen processed the payment. On March 20, 2019, Allen received
 a third request from Fake David, this time requesting a payment of $470,000 to Zang
 Investments, LLC. At this point, Allen became concerned as to the authenticity of the request
 and forwarded the email to Real David asking him if the request was legitimate. Real David then
 called Allen and told her that the email had not been sent by him. At this point, Allen realized
 the fraud and that the prior emails were likewise also fraudulent. Allen called immediately
 Ernst’s bank, Farmers & Merchants Bank, informed it of the fraud, and asked for the wires to be
 stopped. The bank said that the wires had already been sent and could not be recalled. When
 Allen discovered what had happened, she began crying and shaking. An incident report written
 by Annette Martin, Ernst’s Operations Manager, stated the following:

                [Martin] reminded her that E&H do not sent out wire transfers –
                who trained you regarding wire transfers? (Her response was no.)
                Have you done one before? (Her response was no.) Also, asked
                why didn’t she speak with [Martin] regarding such emails?
                Couldn’t you pick up the phone and contact [Real David] since
                these requests were out of protocol? Employee was visibly shaken
                and distraught, could not answer any other questions other than “I
                don’t know.”

         Ernst determined that the fraudster was using an email address that was similar to, but
 different from, Real David’s actual email address. The fraudulent party used the address of
 dhaas@ernsthas.com, while Real David’s email address is dhaas@ernstandhaas.com.

        The Insured has concerns that Allen may be connected with the loss, stating as follows:

                I’m not in a position to make allegations that Krystal embezzled
                funds from our company, however the circumstances are curious.
                She had been with our company for approximately 5 months and
                was very familiar with our protocols for funds disbursement, yet
                she by-passed all standard procedures and sent funds to an
                unknown out of state bank account without any accounting. When




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                asked, she did not have any answer whatsoever as to why she did
                not follow known procedures and practices. We have never issued
                payment in this manner, or for such large amounts in the past, so it
                raises concerns. Within days of this incident she left the company
                on leave and has not returned.

         Ernst claims a total loss amount of $200,000, representing the first wire in the amount of
 $50,000 and the second wire in the amount of $150,000. On its proof of loss form, the Insured
 described the loss as “Email was compromised and funds were wired to fraudulent account.”
 Ernst reported the matter to the Long Beach Police Department and to the Internet Crime
 Complaint Center. In its written report to law enforcement, and in the written recall request to
 the bank, the Insured described the loss as resulting from an email hack and compromise.

                                            ANALYSIS

          As explained further herein, coverage is not available for the Wire Matter as the loss does
 not fall within any of the Insuring Agreements of the Policy.

 Insuring Agreement A: Fidelity

         Insuring Agreement A(1), Employee Theft, provides coverage for loss “sustained by you
 resulting directly from theft or forgery committed by an employee, whether identified or not,
 acting alone or in collusion with other persons[.]” Theft is defined as “the unlawful taking of
 property to its owner’s deprivation.” Coverage under Insuring Agreement A(1) is not triggered
 as it does not appear that the loss resulted directly from a theft committed by an employee.
 Although the Insured has questions as to whether Allen may have been involved in the fraud,
 there does not appear to be any evidence that Allen was so involved. To the contrary, upon
 receiving the third wire request for $470,000, Allen grew concerned and contacted Real David to
 confirm whether the request was legitimate. This does not indicate that Allen was trying to
 defraud the Insured. While it appears that Allen did not follow the protocols for such payments
 that the Insured had in place, this does not evidence theft, but rather, a failure to follow proper
 procedures. If the Insured has any evidence of an actual theft by Allen, please forward the same
 for our review.

        Insuring Agreement A(2), Third Parties’ Property, provides coverage for loss “sustained
 by your client or vendor . . . ” Coverage under Insuring Agreement A(2) is not triggered for the
 reasons described in the preceding paragraph, and as this matter does not involve loss to a client
 or vendor of the Insured, as those terms are defined by the Policy.




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 Insuring Agreement B: Forgery

         Insuring Agreement B(1), Checks, provides coverage for loss “sustained by you resulting
 directly from forgery, alteration, or counterfeiting of any negotiable instruments that are made or
 drawn by you (or by your agent) or purported to have been so made or drawn[.]” There is no
 coverage under this provision as, among other reasons, the loss at issue did not involve a
 negotiable instrument.

 Insuring Agreement B(2): Payment Cards

         Insuring Agreement B(2), Payment Cards, provides coverage for loss “sustained by you
 resulting directly from the fraudulent use of any credit, debit, convenience, stored-value, charge,
 gas, p-, purchase, or procurement card, or a similar instrument issued to you or any employee for
 business purposes, and which is not reimbursed by the issuing bank, so long as you or the
 employee have complied fully with the provisions, conditions, or other terms under which the
 card or instrument was issued.” There is no coverage under this provision as, among other
 reasons, the loss at issue did not involve one of the aforementioned instruments.

 Insuring Agreement C: Inside and Outside Loss

         Insuring Agreement C(1), Inside the Premises, provides coverage, in relevant part, for
 “loss of money or securities inside the premises or financial institution premises resulting
 directly from: i. theft committed by a person present inside the premises or financial institution
 premises; or ii. disappearance or destruction of such money or securities[.]” Coverage under
 this provision is not triggered as, among other reasons, the loss at issue did not involve a loss of
 money inside the Insured’s premises or financial institution premises, resulting directly from a
 theft committed by a person inside the Insured’s premises or financial institution premises, or
 from disappearance or destruction, as those terms are defined by the Policy. Rather, it appears
 that the loss occurred by the acts of an unknown actor at an unknown location.

         Insuring Agreement C(2), Outside Transit, provides coverage, in relevant part, for “loss
 of or damage to other property outside the premises or financial institution premises in the
 care and custody of a messenger or armored motor vehicle company, regardless of whether such
 messenger or vehicle is in transit, and resulting directly from an actual or attempted
 robbery . . . ” Coverage under this provision is not triggered as, among other reasons, the loss at
 issue did not involve other property, as defined by the Policy, and did not involve property in the
 care and custody of a messenger or from an actual or attempted robbery, as defined by the
 Policy.




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 Coverage D: Tech Fraud

         Insuring Agreement D(1), Computer Fraud, provides in relevant part that Hiscox will pay
 for “loss of or damage to money, securities, or other property resulting directly from
 computer fraud . . . ” Computer Fraud is defined as “the use of any computer system to make a
 fraudulent transfer of money, securities, or other property from inside the premises or
 financial institution premises to a person (other than a messenger) or place outside the
 premises or financial institution premises.” (emphasis added in underline). While it does
 appear that Fake David used a computer as part of the scheme, the computer use does not fall
 within the ambit of coverage under Insuring Agreement D(1). This is because the computer must
 be used directly to perpetrate the fraud—and not as a mere instrumentality—as was the case
 here. See, e.g., Apache Corp. v. Great Am. Ins. Co., 662 Fed. Appx. 252, 253 (5th Cir. 2016)
 (Insured’s loss not a covered occurrence where“[t]he [fraudulent] email was part of the scheme;
 but, the email was merely incidental to the occurrence of the authorized transfer of money.”);
 Pestmaster Servs., Inc. v. Travelers Cas. & Sur. Co. of Am., 656 Fed. Appx. 332, 333 (9th Cir.
 2016) (“Because computers are used in almost every business transaction, reading this provision
 to cover all transfers that involve both a computer and fraud at some point in the transaction
 would convert this Crime Policy into a ‘General Fraud’ Policy.”). Here, there was no direct loss
 resulting from the use of a computer. Rather, the computer was used as a tool in Fake David’s
 scheme which involved a number of steps after any purported fraudulent use of a computer by
 the fraudster. Notably, the computer did not directly cause the transfer of any funds from inside
 the Insured’s premises or the Insured’s financial institution premises. Instead, the loss was
 caused by action that Allen was duped into taking.

         Insuring Agreement D(2), Funds Transfer, provides that Hiscox will pay for “loss of or
 damage to money or securities contained in your transfer account sustained by you resulting
 directly from funds transfer fraud[.]” Transfer Account is defined in part as “an account
 maintained at a financial institution from which one can initiate the transfer, payment, or
 delivery of money or securities . . . ” Funds Transfer Fraud is defined in relevant part as:

               1. telefacsimile, telephone, or other electronic instruction
                  directing a financial institution to debit a transfer account
                  and to transfer, pay, or deliver money or securities from that
                  transfer account, which instruction purports to have been
                  transmitted by you, but was in fact fraudulently transmitted by
                  someone else without your knowledge or consent; or

               2. written instruction . . . issued to a financial institution
                  directing such institution to debit a transfer account and to
                  transfer, pay, or deliver money or securities from that transfer
                  account, through an electronic funds transfer system at
                  specified times or under specified conditions, which instruction




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 Mr. David L. Haas
 June 10, 2019
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                     purports to have been issued by you, but was in fact issued,
                     forged, or altered by someone else without your knowledge or
                     consent.

                Funds transfer fraud does not include any transfer,      payment, or
                delivery of money or securities which required            you, your
                employees, your executive employees, or others on        your behalf
                to take any action in order the complete the transfer,   payment, or
                delivery of such money or securities.

          Insuring Agreement D(2) is not triggered as there was no funds transfer fraud. Neither
 the first or second parts of the definition of funds transfer fraud is satisfied as there was no
 instruction to a financial institution purporting to have been transmitted by the Insured. Rather,
 the instruction to the Insured’s bank was from the actual Insured (Krystale Allen). Further, funds
 transfer fraud does not include any transfer or payment which required an employee “to take any
 action in order the complete the transfer, payment, or delivery of such money or securities.”
 Here, Allen had to take action in order to complete the transfer of money.

        As noted above, the Policy does not contain any coverage under Insuring Agreement
 D(3), Cyber Deception.


                                         CONCLUSION

         Hiscox trusts that Ernst & Haas Management Company, Inc. understands and appreciates
 the basis and import of the foregoing. This position is based upon the information available to
 Hiscox at this time. Hiscox expressly reserves all of its rights and coverage defenses under the
 Policy, including but not limited to its right to supplement or amend its coverage position should
 circumstances so warrant. If you wish to submit additional information which may bear on
 Hiscox’s insurance coverage determination in this matter, we invite you to relay that information
 for possible reconsideration of this determination. If you have any questions or comments
 regarding this matter, please do not hesitate to contact me.

         If you believe that coverage for this claim has been wrongfully denied, you may have the
 matter reviewed by the California Department of Insurance as follows:

                                California Department of Insurance
                                      Claims Service Bureau
                                300 South Spring Street, 11th Floor
                                     Los Angeles, CA 90013
                                     (800) 927-4357 (in state)
                                   (213) 877-8921 (out of state)




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 Mr. David L. Haas
 June 10, 2019
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                                                 Very truly yours,




                                                 Robert A. McCall



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       Correspondence from insurer’s counsel,
             dated December 20, 2019
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                                                                 ROBERT A. MCCALL
                                                                 [617] 951.2061
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                                                                 December 20, 2019

  By First Class Mail and Electronic Mail (robbastian@aol.com)
  Attorney Robert L. Bastian, Jr.
  Law Offices of Bastian & Dini
  9025 Wilshire Blvd., Penthouse Suite
  Beverly Hills, California 90211

         Insured:        Ernst & Haas Management Company Inc.
         Insurer:        Hiscox Inc. on behalf of certain Underwriters at Lloyd’s of London
                         (“Hiscox”)
         Policy:         C-Suite, Crime Coverage Part (the “Policy”)
         Policy No.:     UC21253080.19
         Policy Period:  01/18/2019 to 01/18/2020
         Hiscox Ref. No. 194002052

  Dear Attorney Bastain:

         I am in receipt of your letter dated November 21, 2019, with enclosures, and write in
  response. After careful review, and as discussed in more detail below, Hiscox must respectfully
  advise you that its position remains the same— coverage is not available under the Policy for the
  Wire Matter as the alleged loss does not fall within any of the Insuring Agreements of the Policy.
  As your materials appear to dispute the availability of coverage under Insuring Agreement D(1)
  only, we address that policy provision herein. However, please do note that our prior
  correspondence to Mr. Haas of June 10, 2019 is incorporated herein by reference.

  The Plain Language of the Hiscox Policy Precludes Any Possibility of Coverage

         At the outset, we note that the plain language of the Policy is dispositive as to coverage.
  The definition of Computer fraud in the Policy is as follows:

                 Computer fraud means the use of any computer system to make a
                 fraudulent transfer of money, securities, or other property from
                 inside the premises or financial institution premises to a person
                 (other than a messenger) or place outside the premises or
                 financial institution premises.




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  December 20, 2019
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                 Computer fraud does not include any fraudulent transfer of
                 money, securities, or other property which required you, your
                 employees, your executive employees, or others on your behalf
                 to take any action in order to complete the transfer of such money,
                 securities, or other property.

  (emphasis added in underline). The definition of Computer fraud specifically carves out any
  fraudulent transfer which required an employee to take any action in order to complete the
  transfer of money. This is the precise situation that happened in this matter—the Insured’s
  employee, Ms. Allen, took action to complete the transfers of money. It is without dispute that
  this is what Ms. Allen did. This fact is dispositive.

          The Policy language above is clear, unequivocal, and explicit. Under California law, the
  plain language of an insurance policy governs coverage. Ash v. Gainsco, Inc., No. C 00-0046
  MJJ, 2000 WL 1262655, at *2 (N.D. Cal. Aug. 24, 2000) (“ . . . the plain language of an
  insurance policy governs its interpretation . . . ”); Mayer Hoffman McCann, P.C. v. Camico Mut.
  Ins. Co., 161 F. Supp. 3d 858, 864 n.2 (N.D. Cal. 2016) (“the Court finds that the plain language
  of the policy controls.”). While the plain language of the Policy is conclusive on the question of
  coverage, for the sake of completeness, we address briefly the arguments put forth in your recent
  submission.

  Medidata and American Tooling Involve Different Policy Language

          Your letter references correspondence sent to the California Department of Insurance in
  July 2019. The main argument put forth in the referenced correspondence is that Medidata
  Solutions, Inc. v. Federal Insurance Co. (a case from the Southern District of New York) and
  American Tooling Center, Inc. v. Travelers Casualty and Surety Company of America (a case
  from the Sixth Circuit Court of Appeals, which encompasses Kentucky, Michigan, Ohio and
  Tennessee) “are better guidance for how a California court will likely resolve the dispute” than
  the caselaw decided in our very jurisdiction—California. Medidata and American Tooling
  cannot apply where the Policy has specific additional language—not present in either of these
  cases—that specifically removes the Wire Matter from coverage (and your assertion that
  American Tooling has identical language to the Policy is untrue).

          In Medidata, the policy at issue defined Computer Fraud as “the unlawful taking or the
  fraudulently induced transfer of Money, Securities or Property resulting from a Computer
  Violation.” 268 F. Supp. 3d 471, 474 (S.D.N.Y. 2017), aff’d, 729 F. App’x 117 (2d Cir. 2018).
  In American Tooling, the policy at issue defined Computer Fraud as “[t]he use of any computer
  to fraudulently cause a transfer of Money, Securities or Other Property from inside
  the Premises or Financial Institution Premises: 1. to a person (other than a Messenger) outside
  the Premises or Financial Institution Premises; or 2. to a place outside the Premises or




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  Attorney Robert L. Bastian, Jr.
  December 20, 2019
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  Financial Institution Premises.” 895 F.3d 455, 463 (6th Cir. 2018). Neither case involves a
  policy with the language in underline above, which you ignore. The definition of Computer
  fraud in the Policy specifically carves out from coverage any fraudulent transfer which required
  an employee to take any action in order to complete the transfer of money. As stated above, this
  is the precise situation at hand here.

  Case Law of Foreign Jurisdictions is Irrelevant Where There is Settled Case Law in California

          The Insured puts forth that two cases decided by other jurisdictions (Medidata and
  American Tooling), with similar facts, resolved in favor of coverage. This argument is seriously
  flawed. Both of these jurisdictions (New York and Michigan) use a “proximate cause” analysis
  of loss to determine whether a loss is caused by the direct use of a computer. The “proximate
  cause” analysis used in each case led the courts to find coverage. Critically, California does not
  use “proximate cause” in determining whether a loss is caused by the direct use of a computer.
  California courts follow the “direct means direct” line of reasoning, rather than the “direct means
  proximate cause” line of case law. A California court will ask whether the loss resulted directly
  from the use of a computer without any intervening steps, as espoused in the Ninth Circuit
  decision of Pestmaster Servs., Inc. v. Travelers Cas. & Sur. Co. of Am., 656 Fed. Appx. 332 (9th
  Cir. 2016), and as cited in Hiscox’s coverage determination.

           Ninth Circuit cases applying California law have consistently “rejected arguments that
  ‘loss resulting directly from’ should be construed to mean ‘loss proximately caused by,’ instead
  finding that ‘direct means direct’ and was narrower than proximate cause.” Valley Cmty. Bank v.
  Progressive Cas. Ins. Co., 854 F. Supp. 2d 697, 709 (N.D. Cal. 2012). See also United Sec.
  Bank v. Fid. & Deposit Co. of Maryland, 125 F.3d 860 (9th Cir. 1997) (“We agree with the many
  cases which reason that ‘direct’ means ‘direct.’”); Vons Co., Inc. v. Fed. Ins. Co., 212 F.3d 489,
  492–493 (9th Cir. 2000) (“We hold that ‘direct’ means ‘direct.’”). Here, the Insured’s loss was
  entirely contingent on a series of events and decisions, including Ms. Allen’s decision to process
  two transfers of money in response to communications she received from who she thought was
  her superior. In such a situation, under California law, there can be no coverage under an
  insurance policy provision that requires that the loss of money “result[ ] directly from computer
  fraud . . . ” (emphasis added in underline). The Pestmaster case remains good law in the state of
  California and California courts continue cite it with support. See, e.g., Taylor & Lieberman v.
  Fed. Ins. Co., No. CV 14-3608 RSWL SHX, 2015 WL 3824130, at *4 (C.D. Cal. June 18, 2015),
  aff'd, 681 F. App’x 627 (9th Cir. 2017). There is no indication that California courts may change
  course in following the “direct means direct” line of cases.

          Moreover, California simply will not look to the law of other jurisdictions where there is
  settled law in the state on this issue. The fact that other jurisdictions rejected a California
  decision means that the other jurisdictions happen to not follow California law on the particular
  issue. This has no bearing on the legitimacy of the law in California. A California court will not
  consider cases cited from outside jurisdictions where there is settled law within its own




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  jurisdiction. See, e.g., In re First Am. Corp. ERISA Litig., No. SACV 07-01357-JVSRNB, 2008
  WL 5666635, at *2 (C.D. Cal. Sept. 12, 2008) (“the fact that there is non-binding precedent in
  jurisdictions other than the Ninth Circuit is insufficient to show a ‘substantial ground’ for
  difference of opinion in light of the apposite and controlling precedent of [a Ninth Circuit
  decision]”).

  The Insured Did Not Purchase The Coverage That Could Have Afforded Coverage For This Loss

           The real issue here is that the Insured did not purchase the coverage that could have
  provided coverage for this loss. Insuring Agreement D(3) of the Policy, Cyber Deception,
  typically affords coverage in situations similar to the loss at issue here—where an Insured is
  tricked into sending money to a fraudulent party. Insuring Agreement D(3) provides coverage,
  in part, for a loss of money resulting directly from cyber deception. Cyber deception means the
  intentional deception of an employee by a person falsely purporting to be an employee of the
  Insured through a confidence trick communicated by email which results in the Insured’s transfer
  of money. Insuring Agreement D(3) was written specifically to provide coverage in situations
  where, as here, an employee is tricked into making a transfer of money. The Insured could have
  purchased this coverage, but did not. While it is unfortunate that the Insured did not buy this
  coverage, this is not the fault of Hiscox. The Insured cannot now rewrite the Policy to fix the ills
  caused by its own decision.

  Any Bad Faith Allegation Against Hiscox Is Without Any Basis

           Any attempt to bring a bad faith claim (or any claim) against Hiscox will be unsuccessful
  and readily disposed of by a California court. Where there is a genuine issue as to the insurer’s
  liability under a policy, there can be no bad faith liability imposed on the insurer for advancing
  its side of that dispute. Esparza v. Burlington Ins. Co., 866 F. Supp. 2d 1185, 1206 (E.D. Cal.
  2011); Casey v. Metro. Life Ins. Co., 688 F. Supp. 2d 1086, 1098 (E.D. Cal. 2010) (“Under
  California law, bad faith liability does not exist for a legitimate dispute of an insurer’s liability
  under the policy.”). Here, it cannot be said that there is even a genuine, legitimate dispute. The
  Policy language is clear and unequivocal—computer fraud does not include any fraudulent
  transfer of money which required the employee to take any action in order to complete the
  transfer.

          Hiscox trusts that the Insured understands and appreciates the basis and import of the
  foregoing. Hiscox expressly reserves all of its rights and coverage defenses under the Policy and
  at law. If you have any questions or comments regarding this matter, please do not hesitate to
  contact me.




                                                                                       Complaint page 103 of 119
Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 104 of 119 Page ID #:104




  Attorney Robert L. Bastian, Jr.
  December 20, 2019
  Page 5

                                                   Very truly yours,




                                                   Robert A. McCall



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         Rita Pancham (by electronic mail)
         rpancham@rtspecialty.com
         Craig Camenson (by electronic mail)
         csgins@sbcglobal.net
         Joseph Quinn, Esq. (by electronic mail)
         Joseph.Quinn@hiscox.com




                                                                       Complaint page 104 of 119
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     Correspondence from the insured’s counsel,
              February 4, 2020, 4 pp.
                    EXHIBIT 6      Complaint page 105 of 119
     Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 106 of 119 Page ID #:106
LA.w OFFICES OF
BASTIAN & DINI
9()25 Tx.ILSFIIR-E BL\/D. . PENTIIOUSE SIJITE . BE\/ER-LY IIILLS, CALIFORNIA 90211 . TEL: 310/789-1955 . iAr< 3lO/422-1949




        February 4,2020

        Robert A. McCall                                                                      by    class mail
                                                                                                   first
        PEABODY & ARNOLD LLP                                                         and by electronic mail to:
        Federal Reserve Plaza                                                  rmccall@peabodyarnold. com
        600 Atlantic Avenue
        Bostory MA 02210

                 Insured:                Ernst & Haas Management Company Inc.
                 Insurer:                Hiscox Inc. on behalf of certain Underwriters
                                         at Lloyd's of London ("Hiscox")
                 Policy:                 C-Suite, Crime Coverage Part (the "Policy")
                 Policy No.:             UC21253080.19
                 Policy Period:          0L/18 /2019 to      01, /18   /2020
                 Hiscox Ref.     No.:    194002052

         Dear Mr. McCall:

         Hiscox blames its insured for its denial of the subject claim in your latest
         correspondence, December 20, 2019.

         You state, "[w]hile it is unfortunate that the Insured did not buy this coverage,"
         referring to coverage for loss due to computer fraud, "this is not the fault of
         Hiscox."

         Actually, under California law, it quite clearly is.

         A copy of Ernst & Haas' original insurance policy, which took effect January 18,
         2012 states in pertinent part:

                         Coverage D: Computer and Funds Transfer Fraud
                         (1) Computer Fraud
                         We will puy for loss of or damage to Money, Securities
                         andf or Other Property resulting directly from the use
                         of any computer to fraudulently cause a transfer of that




                                                                                                   Complaint page 106 of 119
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  Robert A. McCall
  PEABODY & ARNOLD LLC
  February 4,2020
  Page Two



                property from inside the Premises or Banking Premises:

               fr)   itl r :H,!:,T;; $;ffi # :Ttf;,? il""'ff iffi         "
               those Premises or Banking Premises.

  "Coverage D" of page 4 of 24 of policy form CRI P001 CW      (06   /10), issued to Ernst
  & Haas, coverage commencing January 18,2012.

  This coverage is clear. It is what Ernst & Haas purchased. It covers Ernst & Haas'
  loss.

  The limited definition of computer fraud, found on page 11 of 17 of policy form
  CSUCRI P0001A CW (07 /17), which you cited in your prior correspondence as
  the basis of Hiscox's denial, is nowhere found in the policy issued in2012.

  As I am sure you are aware, California, as many other states, places limitations
  on an insurer's freedom to "skinny down" renewed policies, i.e., add new
  limitations on coverage when renewing policies.

  An insurance company is bound by u greater coverage in an earlier policy when a
  renewal policy is issued but the insured is not notified of the specific reduction in
  coverage. Industrial lndem, Co. a. Ind. Acc. Com. (1949) 34 Cal.2d 500, 506; Sorensen
  a. Farmers lns. Exch. (1976) 56 Cal.App.3d 328,333.


  "[A]n insurer when renewing a policy may not change the terms of the pohC! r
  without first notifying the insured ...." Zito u. Firemen's lns. Co. (1973) 36
  Cal.App.3d 277,282.

  \zVhen an insurance company changes, reduces, or       limits the coverage or benefits
   of a policy upon renewal, the notice of such change must "be provided in a 'plain,
   clear and conspieuous writing' ." Euerett a, State Farm General lns. Co. (2008) 162
   Cal.App.4th 649,663.




                                                                              Complaint page 107 of 119
                                                                                                      -1

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  Robert A. McCall
  PEABODY & ARNOLD LLC
  February 4,2020
  Page Three

  To be conspicuous, the notice must be "displayed or presented" in a way that it
  would be "noticed" by u reasonable person. Broberg a, Guardian Life lns. Co. of Am.
  (2009) 171. CaL App.4th 912,922-23.

  Examplesofconspicuousnotice"includes...aheadingincapitals...largertype
  than ih" rrrttorrtding text, or in contrasti.g VPe, font, or color to the
  surrounding text of the same   sLZe     ld. at923.

  Moreover, the notice of reduction in coverage must be "specific." Daais a. United
  Seraices Auto Ass'n (1990) 223 Cal.App.3d 1322,1332.


  "[A] general admonition to read the policy for changes is insufficient." Ibid.
  [Emphasis added]

  The failure to provide "adequate notice" renders the attempted reduction or
  limitation in coverage "ineffective.' ld. at 1333.

  Neither Ernst & Haas, nor its insurance agents are aware of, or could produce
  any kind of notice, much less notice in the form of "plain, clear and conspicuous
  writing" from Hiscox, that Hiscox was reducing its coverage from that contained
  in "Coverage D" issued Janu ary 18,2012 to coverage consistent only with the
  restrictive definition of "Computer Fraud"of the policy "renewed" in 2018 and
   2019.

   Unless Hiscox can provide a factual basis that it gave actual notice of the
   reduction noted above, compliant with California law, demand is hereby made
   that Hiscox pay its insured's claim.

   Otherwise, Ernst & Haas will file a claim alleging,inter alia, Hiscox's bad faith
   breach of the insurance contract.

   Regarding bad faith, we would add that changes in language in the 7 /2017 form
   appear to be an effort to match other insurers' efforts across the nation to write
   language into insurance contracts so as to reduce coverage regarding computer
   fraud claims.




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  Robert A. McCall
  PEABODY & ARNOLD LLC
  February 4,2020
  Page Four

  Both the 7 /2017 form and the cases you have cited in your correspondence which
  address the same or similar language have all occurred well after January 2012,
  when Ernst & Haas purchased its original policy.

  This raises an inference of precisely the type of insurer bad faith which would
  support an award of punitive damages under California law.

  This is not to mention the attorneys' fees associated with the considerable trouble
  Hiscox has and is poised to put Ernst & Haas through for what should have been
  a straightforward satisfaction of a straightforward claim.

  Please provide Hiscox's response to this letter no later than March 4,2020.

  Thank you for your anticipated response.

  Sincerely,

  /s/ Robert L. Bastian, lr.
  Robert L. Bastian, Jr.


  Encl.: CRI P001 CW (06/1,0)

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         csgins@sbcglobal.net
         ]oseph Quinn, Esq. (by electronic mail)
         ]oseph. Quinn@hiscox. com




                                                                        Complaint page 109 of 119
Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 110 of 119 Page ID #:110




     Correspondence from the Insurer’s counsel,
               March 4, 2020, 4 pp.
                   EXHIBIT 7      Complaint page 110 of 119
Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 111 of 119 Page ID #:111




                                                                ROBERT A. MCCALL
                                                                [617] 951.2061
                                                                rmccall@peabodyarnold.com




                                                                March 4, 2020

  By First Class Mail and Electronic Mail (robbastian@aol.com)
  Attorney Robert L. Bastian, Jr.
  Law Offices of Bastian & Dini
  9025 Wilshire Blvd., Penthouse Suite
  Beverly Hills, California 90211

         Insured:        Ernst & Haas Management Company Inc.
         Insurer:        Hiscox Inc. on behalf of certain Underwriters at Lloyd’s of London
                         (“Hiscox”)
         Policy:         C-Suite, Crime Coverage Part
         Policy No.:     UC21253080.19
         Policy Period:  01/18/2019 to 01/18/2020
         Hiscox Ref. No. 194002052

  Dear Attorney Bastian:

          I am in receipt of your letter dated February 4, 2020 and write in response. After careful
  review, and as discussed in more detail below, Hiscox must respectfully advise you that its
  position remains the same— coverage is not available under the Policy for the Wire Matter as the
  alleged loss does not fall within any of the Insuring Agreements of the Policy. While we address
  the new argument made in your most recent letter, please do note that all prior correspondences
  to both you and to the Insured are incorporated herein by reference.

          The new argument put forth in your most recent letter is that the language of Insuring
  Agreement D(1) of Policy No. UC21253080.19 (the “Policy” or the “2019 – 2020 Policy”),
  “skinnied down” the coverage that was available to the Insured under prior policy period(s).
  You stated that an insurer is bound by a greater coverage in an earlier policy when a renewal
  policy is issued but the insured is not notified of the specific reduction in coverage. The fatal
  flaw with this argument is that even under the language contained in the prior policy, Policy No.
  UC21253080.18 (the “2018 – 2019 Policy”), coverage would not have been available for the
  Wire Matter under Insuring Agreement D(1). Stated otherwise, any purported “reduction” in
  coverage in the 2019 – 2020 Policy to an earlier policy is irrelevant to the conclusion reached in
  this matter. This is explained in further detail below.




                                                                                Complaint page 111 of 119
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  Attorney Robert L. Bastian, Jr.
  March 4, 2020
  Page 2
          Insuring Agreement D(1) of the 2019 – 2020 Policy provides that Hiscox will pay for:
  “loss of or damage to money, securities, or other property resulting directly from computer
  fraud[.]” Computer fraud is defined as:

                 the use of any computer system to make a fraudulent transfer of
                 money, securities, or other property from inside the premises or
                 financial institution premises to a person (other than a
                 messenger) or place outside the premises or financial institution
                 premises.

                 Computer fraud does not include any fraudulent transfer of
                 money, securities, or other property which required you, your
                 employees, your executive employees, or others on your behalf
                 to take any action in order to complete the transfer of such money,
                 securities, or other property.

          Insuring Agreement D(1) of the 2018 – 2019 Policy provides that Hiscox will pay for
  “loss of or damage to Money, Securities and/or Other Property resulting directly from the use
  of any computer to fraudulently cause a transfer of that property from inside the Premises or
  Banking Premises: (i) to a person (other than a Messenger) outside those Premises or Banking
  Premises; or (ii) to a place outside those Premises or Banking Premises.” The difference
  between the language in the 2019 – 2020 Policy and the 2018 – 2019 Policy is the language in
  underline above. The underlined language specifically clarifies that computer fraud will not
  include any transfer which required the Insured to take any action to complete the transfer. This
  is not a reduction in coverage. This language clarified the decision reached by the Ninth Circuit
  Court of Appeals in the seminal case of Pestmaster Servs., Inc. v. Travelers Cas. & Sur. Co. of
  Am., 656 Fed. Appx. 332 (9th Cir. 2016). In Pestmaster, the Court specifically interpreted the
  phrase “fraudulently cause a transfer” to require an unauthorized transfer of funds (“When
  Priority 1 transferred funds pursuant to authorization from Pestmaster, the transfer was not
  fraudulently caused.”). Just like in Pestmaster, the subject funds in this matter were transferred
  pursuant to authorization from the Insured.

          Notably, under the “old” language of the 2018 – 2019 Policy, coverage would still have
  been precluded under Insuring Agreement D(1). As stated in our original coverage
  determination of June 10, 2019, while Fake David appeared to use a computer as part of the
  scheme, the computer use did not fall within the ambit of coverage under Insuring Agreement
  D(1). This is because the computer must be used directly to perpetrate the fraud—and not as a
  mere instrumentality—as was the case in the Wire Matter. See, e.g., Apache Corp. v. Great Am.
  Ins. Co., 662 Fed. Appx. 252, 253 (5th Cir. 2016) (Insured’s loss not a covered occurrence where
  “[t]he [fraudulent] email was part of the scheme; but, the email was merely incidental to the
  occurrence of the authorized transfer of money.”); Pestmaster, 656 Fed. Appx. at 333 (“Because
  computers are used in almost every business transaction, reading this provision to cover all




                                                                                  Complaint page 112 of 119
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  Attorney Robert L. Bastian, Jr.
  March 4, 2020
  Page 3
  transfers that involve both a computer and fraud at some point in the transaction would convert
  this Crime Policy into a ‘General Fraud’ Policy.”). In the Wire Matter, there was no direct loss
  resulting from the use of a computer. Rather, the computer was used as a tool in Fake David’s
  scheme which involved a number of steps after any purported fraudulent use of a computer by
  the fraudster. Notably, the computer did not directly cause the transfer of any funds from inside
  the Insured’s premises or financial institution premises. Instead, the loss was caused by action
  that the Insured’s employee, Ms. Allen, was duped into taking. In fact, in our original coverage
  determination, we did not even cite to the underlined language above. As you are aware,
  California is a “direct means direct” jurisdiction rather than a “direct means proximate cause”
  jurisdiction. Ninth Circuit cases applying California law have consistently “rejected arguments
  that ‘loss resulting directly from’ should be construed to mean ‘loss proximately caused by,’
  instead finding that ‘direct means direct’ and was narrower than proximate cause.” Valley Cmty.
  Bank v. Progressive Cas. Ins. Co., 854 F. Supp. 2d 697, 709 (N.D. Cal. 2012). See also United
  Sec. Bank v. Fid. & Deposit Co. of Maryland, 125 F.3d 860 (9th Cir. 1997); Vons Co., Inc. v.
  Fed. Ins. Co., 212 F.3d 489, 492–493 (9th Cir. 2000). Here, there was no direct loss resulting
  from the use of a computer.

           As noted in our prior correspondence, any attempt to bring a bad faith claim (or any
  claim) against Hiscox will be unsuccessful and readily disposed of by a California court. Where
  there is a genuine issue as to the insurer’s liability under a policy, there can be no bad faith
  liability imposed on the insurer for advancing its side of that dispute. Esparza v. Burlington Ins.
  Co., 866 F. Supp. 2d 1185, 1206 (E.D. Cal. 2011); Casey v. Metro. Life Ins. Co., 688 F. Supp. 2d
  1086, 1098 (E.D. Cal. 2010) (“Under California law, bad faith liability does not exist for a
  legitimate dispute of an insurer’s liability under the policy.”). Here, it cannot be said that there is
  even a genuine, legitimate dispute. The Policy language is clear and unequivocal—computer
  fraud does not include any fraudulent transfer of money which required the employee to take any
  action in order to complete the transfer. This is the result whether you look at the “old” language
  of prior policies or the clarified language of the 2019 – 2020 Policy.

          Hiscox trusts that the Insured understands and appreciates the basis and import of the
  foregoing. Hiscox expressly reserves all of its rights and coverage defenses under the Policy and
  at law. If you or the Insured have any questions or comments regarding this matter, please do
  not hesitate to contact me.


                                                                   Very truly yours,




                                                                   Robert A. McCall




                                                                                       Complaint page 113 of 119
Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 114 of 119 Page ID #:114




  Attorney Robert L. Bastian, Jr.
  March 4, 2020
  Page 4

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         Joseph Quinn, Esq. (by electronic mail)
         Joseph.Quinn@hiscox.com




                                                           Complaint page 114 of 119
Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 115 of 119 Page ID #:115




     Correspondence from the Insurer’s counsel,
               March 13, 2020, 4 pp.
                   EXHIBIT 8      Complaint page 115 of 119
Case 2:20-cv-04062-AB-PVC Document 1 Filed 05/01/20 Page 116 of 119 Page ID #:116




                                                                ROBERT A. MCCALL
                                                                [617] 951.2061
                                                                rmccall@peabodyarnold.com




                                                                March 13, 2020

  By First Class Mail and Electronic Mail (robbastian@aol.com)
  Attorney Robert L. Bastian, Jr.
  Law Offices of Bastian & Dini
  9025 Wilshire Blvd., Penthouse Suite
  Beverly Hills, California 90211

         Insured:        Ernst & Haas Management Company Inc.
         Insurer:        Hiscox Inc. on behalf of certain Underwriters at Lloyd’s of London
                         (“Hiscox”)
         Policy:         C-Suite, Crime Coverage Part
         Policy No.:     UC21253080.19
         Policy Period:  01/18/2019 to 01/18/2020
         Hiscox Ref. No. 194002052

  Dear Attorney Bastian:

          I am in receipt of your letter dated March 5, 2020 and write in response. The essence of
  your letter is that Hiscox’s prior correspondence referenced the 2018 – 2019 Policy as the
  “original policy,” while the original policy was actually Policy No. UC21253080.12 (the “2012 –
  2013 Policy”). Thus, the purpose of this letter is to address specifically the 2012 – 2013 Policy.
  In summary, any purported obligation by Hiscox to provide notice of any supposed reduction
  in coverage from the 2012 – 2013 to subsequent policies is immaterial to this analysis where
  there would have been no coverage for the Wire Matter under the old language contained in
  the 2012 – 2013 Policy.

  No Coverage Under the “Old” Language of the 2012 – 2013 Policy

          Specifically, you requested that “Hiscox respond as to why it is not relying upon the June
  2012 policy in making its determination.” The answer is as follows: even if, for the sake of your
  argument only, we considered coverage for the Wire Matter under the 2012 – 2013 Policy, there
  still would not be any coverage under the terms of this prior policy. Stated otherwise, any
  purported “reduction” in coverage in the 2019 – 2020 Policy from the 2012 – 2013 Policy is
  irrelevant to the conclusion reached in this matter. This is explained in further detail below.




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  Attorney Robert L. Bastian, Jr.
  March 13, 2020
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          Insuring Agreement D(1) of the 2019 – 2020 Policy provides that Hiscox will pay for:
  “loss of or damage to money, securities, or other property resulting directly from computer
  fraud[.]” Computer fraud is defined as:

                 the use of any computer system to make a fraudulent transfer of
                 money, securities, or other property from inside the premises or
                 financial institution premises to a person (other than a
                 messenger) or place outside the premises or financial institution
                 premises.

                 Computer fraud does not include any fraudulent transfer of
                 money, securities, or other property which required you, your
                 employees, your executive employees, or others on your behalf
                 to take any action in order to complete the transfer of such money,
                 securities, or other property.

         Insuring Agreement D(1) of the 2012 – 2013 Policy provides that Hiscox will pay for:

                  . . . loss of or damage to Money, Securities and/or Other
                 Property resulting directly from the use of any computer to
                 fraudulently cause a transfer of that property from inside the
                 Premises or Banking Premises:

                 (i)    to a person (other than a Messenger) outside those
                        Premises or Banking Premises; or

                 (ii)   to a place outside those Premises or Banking Premises.

  The difference between the language in the 2019 – 2020 Policy and the 2012 – 2013 Policy is the
  language in underline above. The underlined language specifically clarifies that computer fraud
  will not include any transfer which required the Insured to take any action to complete the
  transfer. This is not a reduction in coverage. This language clarified the decision reached by
  the Ninth Circuit Court of Appeals in the seminal case of Pestmaster Servs., Inc. v. Travelers
  Cas. & Sur. Co. of Am., 656 Fed. Appx. 332 (9th Cir. 2016). In Pestmaster, the Court
  specifically interpreted the phrase “fraudulently cause a transfer” to require an unauthorized
  transfer of funds (“When Priority 1 transferred funds pursuant to authorization from Pestmaster,
  the transfer was not fraudulently caused.”). Just like in Pestmaster, the subject funds in this
  matter were transferred pursuant to authorization from the Insured.

         Notably, under the “old” language of the 2012 – 2013 Policy, coverage would still have
  been precluded under Insuring Agreement D(1). As stated in our original coverage
  determination of June 10, 2019, while Fake David appeared to use a computer as part of the




                                                                                   Complaint page 117 of 119
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  Attorney Robert L. Bastian, Jr.
  March 13, 2020
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  scheme, the computer use did not fall within the ambit of coverage under Insuring Agreement
  D(1). This is because the computer must be used directly to perpetrate the fraud—and not as a
  mere instrumentality—as was the case in the Wire Matter. See, e.g., Apache Corp. v. Great Am.
  Ins. Co., 662 Fed. Appx. 252, 253 (5th Cir. 2016) (Insured’s loss not a covered occurrence where
  “[t]he [fraudulent] email was part of the scheme; but, the email was merely incidental to the
  occurrence of the authorized transfer of money.”); Pestmaster, 656 Fed. Appx. at 333 (“Because
  computers are used in almost every business transaction, reading this provision to cover all
  transfers that involve both a computer and fraud at some point in the transaction would convert
  this Crime Policy into a ‘General Fraud’ Policy.”). In the Wire Matter, there was no direct loss
  resulting from the use of a computer. Rather, the computer was used as a tool in Fake David’s
  scheme which involved a number of steps after any purported fraudulent use of a computer by
  the fraudster. Notably, the computer did not directly cause the transfer of any funds from inside
  the Insured’s premises or financial institution premises. Instead, the loss was caused by action
  that the Insured’s employee, Ms. Allen, was duped into taking. In fact, in our original coverage
  determination, we did not even cite to the underlined language above. As you are aware,
  California is a “direct means direct” jurisdiction rather than a “direct means proximate cause”
  jurisdiction. Ninth Circuit cases applying California law have consistently “rejected arguments
  that ‘loss resulting directly from’ should be construed to mean ‘loss proximately caused by,’
  instead finding that ‘direct means direct’ and was narrower than proximate cause.” Valley Cmty.
  Bank v. Progressive Cas. Ins. Co., 854 F. Supp. 2d 697, 709 (N.D. Cal. 2012). See also United
  Sec. Bank v. Fid. & Deposit Co. of Maryland, 125 F.3d 860 (9th Cir. 1997); Vons Co., Inc. v.
  Fed. Ins. Co., 212 F.3d 489, 492–493 (9th Cir. 2000). Here, there was no direct loss resulting
  from the use of a computer.

  A Claim Against Hiscox Will be Unsuccessful

           As noted in our prior correspondence, Hiscox believes that any attempt to bring a bad
  faith claim (or any claim) will be unsuccessful and readily disposed of by a California court.
  Where there is a genuine issue as to the insurer’s liability under a policy, there can be no bad
  faith liability imposed on the insurer for advancing its side of that dispute. Esparza v. Burlington
  Ins. Co., 866 F. Supp. 2d 1185, 1206 (E.D. Cal. 2011); Casey v. Metro. Life Ins. Co., 688 F.
  Supp. 2d 1086, 1098 (E.D. Cal. 2010) (“Under California law, bad faith liability does not exist
  for a legitimate dispute of an insurer’s liability under the policy.”). Here, it cannot be said that
  the Insured can raise a genuine, legitimate dispute. The Policy language is clear and
  unequivocal—computer fraud does not include any fraudulent transfer of money which required
  the employee to take any action in order to complete the transfer. This is the result whether you
  look at the “old” language of prior policies or the clarified language of the 2019 – 2020 Policy.

          Hiscox trusts that the Insured understands and appreciates the basis and import of the
  foregoing. Hiscox expressly reserves all of its rights and coverage defenses under the Policy and
  at law. If you or the Insured have any questions or comments regarding this matter, please do
  not hesitate to contact me.




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  Attorney Robert L. Bastian, Jr.
  March 13, 2020
  Page 4



                                                   Very truly yours,




                                                   Robert A. McCall



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         rpancham@rtspecialty.com
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                                                                       Complaint page 119 of 119
